                                                                                      Case 1:03-cv-09849-GBD-SN Document 1045-7 Filed 10/04/22 Page 1 of 24

EXHIBIT C-3                                                                                                                                                            Burnett, et al. v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                 Wrongful-Death Solatium Claims Under Common Law for Foreign or Unconfirmed Nationals




                                                                                                                                                                                                                                                                      ECF Number of Prior
                                                                                                                                                                                                    Decedent/ Injured
                                                                                                                                                                                                     Relationship of




                                                                                                                                                                                                                                                                        MDL Judgment
                                                                   Plaintiff Suffix




                                                                                                                                                                                                       Plaintiff to
                                                                                                                                               9/11                                                                                   Docket Entry          Case                                             Prior MDL
                                 Plaintiff                                                                                                                                              9/11                               Date                                                               Date of




                                                                                                                                                                             Suffix
                                                                                       Estate Personal     Plaintiff  9/11 Decedent First    Decedent   9/11 Decedent Last                                                             When First        Number of                                           Judgment
#    Plaintiff First Name         Middle     Plaintiff Last Name                                                                                                                       Client's                          Plaintiff                                                           Prior MDL
                                                                                      Representative(s)   Nationality       Name              Middle          Name                                                                     Added to          Prior MDL                                        Value/Solatium
                                  Name                                                                                                                                                Nationality                         Added                                                              Judgment
                                                                                                                                              Name                                                                                     Complaint         Judgment                                        Judgment Amount



                                                                                                                                                                                                                                     DKT 305; 1:02-cv-
 1   E.A.                                                                                                 Unconfirmed Edward                L.          Allegretto                    Unconfirmed       Child            9/5/2003                           n/a          n/a                    n/a      $    8,500,000.00
                                                                                                                                                                                                                                     01616-JR; P4106

                                                                                                                                                                                                                                     DKT 305; 1:02-cv-
 2   M.J.                                                                                                 Unconfirmed Edward                L.          Allegretto                    Unconfirmed       Child            9/5/2003                           n/a          n/a                    n/a      $    8,500,000.00
                                                                                                                                                                                                                                     01616-JR; P4106

                                                                                                                                                                                                                                     DKT 305; 1:02-cv-
 3   Louisa                                  Allegretto                                                   Unconfirmed Edward                L.          Allegretto                    Unconfirmed    Spouse              9/5/2003                           n/a          n/a                    n/a      $   12,500,000.00
                                                                                                                                                                                                                                     01616-JR; P4106
                                                                                                                                                                                                                                     DKT 1; 1:02-cv-
 4   Michael                J.               Allen                                                        Unconfirmed Joseph                Ryan        Allen                         Unconfirmed     Sibling           8/15/2002                           n/a          n/a                    n/a      $    4,250,000.00
                                                                                                                                                                                                                                     01616-JR; 41
                                                                                                                                                                                                                                     DKT 1; 1:02-cv-
 5   Jennifer                                D'Auria                                                      Unconfirmed Joseph                Ryan        Allen                         Unconfirmed     Sibling           8/15/2002                           n/a          n/a                    n/a      $    4,250,000.00
                                                                                                                                                                                                                                     01616-JR; 39
                                                                                                                                                                                                                                     DKT 305; 1:02-cv-
 6   Kui                    Liong            Lee                                                           Malaysia   Siew-Nya                          Ang                            Malaysia      Spouse              9/5/2003                      11-cv-7550    3382                   10/31/2016   $    12,500,000.00
                                                                                                                                                                                                                                     01616-JR; P4108
                                                                                                                                                                                                                                     DKT 26, 29; 1:02-
 7   Emma                   N.               Arczynski                                                      Canada    Michael               G.          Arczynski                       Canada          Child           11/22/2002   CV-01616-JR;           n/a          n/a                    n/a      $    8,500,000.00
                                                                                                                                                                                                                                     2580
                                                                                                                                                                                                                                     DKT 26, 29; 1:02-
 8   Sydney                 Elizabeth        Arczynski                                                      Canada    Michael               G.          Arczynski                       Canada          Child           11/22/2002   CV-01616-JR;           n/a          n/a                    n/a      $    8,500,000.00
                                                                                                                                                                                                                                     2580
                                                                                                                                                                                                                                     DKT 26, 29; 1:02-
 9   Maximilion             Peter            Arczynski                                                      Canada    Michael               G.          Arczynski                       Canada          Child           11/22/2002   CV-01616-JR;           n/a          n/a                    n/a      $    8,500,000.00
                                                                                                                                                                                                                                     2580
                                                                                                                                                                                                                                     DKT 26, 29; 1:02-
10   R.A.                                                                                                  Ecuador    Manual                            Asitimbay                      Ecuador          Child           11/22/2002   cv-01616-JR;           n/a          n/a                    n/a      $    8,500,000.00
                                                                                                                                                                                                                                     1826
                                                                                                                                                                                                                                     DKT 26, 29; 1:02-
11   W.A.                                                                                                  Ecuador    Manual                            Asitimbay                      Ecuador          Child           11/22/2002   cv-01616-JR;           n/a          n/a                    n/a      $    8,500,000.00
                                                                                                                                                                                                                                     1826
                                                                                                                                                                                                                                     DKT HAND FILED;
12   Maria                  Maclovia         Asitimbay Quintuna                                            Ecuador    Manual                            Asitimbay                      Ecuador        Sibling           3/10/2004    1:03-cv-9849           n/a          n/a                    n/a      $    4,250,000.00
                                                                                                                                                                                                                                     (RCC); P4993

                                                                                                                                                                                                                                     DKT HAND FILED;
13   Rosa                   Elena            Asitimbay Quintuna                                            Ecuador    Manual                            Asitimbay                      Ecuador        Sibling           3/10/2004    1:03-cv-9849           n/a          n/a                    n/a      $    4,250,000.00
                                                                                                                                                                                                                                     (RCC); P4994

                                                                                                                                                                                                                                     DKT HAND FILED;
14   Julia                  Rocia            Asitimbay Quintuna                                            Ecuador    Manual                            Asitimbay                      Ecuador        Sibling           3/10/2004    1:03-cv-9849           n/a          n/a                    n/a      $    4,250,000.00
                                                                                                                                                                                                                                     (RCC); P4995
                                                                                                                                                                                                                                   DKT 26, 29; 1:02-
15   Carmen                 C.               Mejia                                                        Unconfirmed Manual                            Asitimbay                      Ecuador       Spouse             11/22/2002 cv-01616-JR;             n/a          n/a                    n/a      $   12,500,000.00
                                                                                                                                                                                                                                   1826




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EXHIBIT C-3                                                                                                                                                            Burnett, et al. v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                   Wrongful-Death Solatium Claims Under Common Law for Foreign or Unconfirmed Nationals




                                                                                                                                                                                                                                                                     ECF Number of Prior
                                                                                                                                                                                                     Decedent/ Injured
                                                                                                                                                                                                      Relationship of




                                                                                                                                                                                                                                                                       MDL Judgment
                                                                Plaintiff Suffix




                                                                                                                                                                                                        Plaintiff to
                                                                                                                                            9/11                                                                                      Docket Entry          Case                                           Prior MDL
                              Plaintiff                                                                                                                                                  9/11                              Date                                                             Date of




                                                                                                                                                                              Suffix
                                                                                    Estate Personal     Plaintiff  9/11 Decedent First    Decedent      9/11 Decedent Last                                                             When First        Number of                                         Judgment
#    Plaintiff First Name      Middle     Plaintiff Last Name                                                                                                                           Client's                         Plaintiff                                                         Prior MDL
                                                                                   Representative(s)   Nationality       Name              Middle             Name                                                                     Added to          Prior MDL                                      Value/Solatium
                               Name                                                                                                                                                    Nationality                        Added                                                            Judgment
                                                                                                                                           Name                                                                                        Complaint         Judgment                                      Judgment Amount



                                                                                                                                                                                                                                     DKT HAND FILED;
                            Transito
16   Maria                                Sacta                                                        Unconfirmed Manual                               Asitimbay                       Ecuador        Parent            3/10/2004   1:03-cv-9849           n/a         n/a                   n/a      $    8,500,000.00
                            Quintuna
                                                                                                                                                                                                                                     (RCC); P4992

                                                                                                                                                                                         United                                      DKT 305; 1:02-cv-
17   Paula                  Virginia      Bailey                                                       Unconfirmed Andrew                Joseph         Bailey                                         Sibling           9/5/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                        Kingdom                                      01616-JR; P4119

                                                                                                                                                                                         United                                      DKT 305; 1:02-cv-
18   Vincent                Henry         Bailey                                                       Unconfirmed Andrew                Joseph         Bailey                                         Parent            9/5/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                        Kingdom                                      01616-JR; P4118

                                                                                                                                                                                         United                                      DKT 305; 1:02-cv-
19   Christine                            Goggins                                                      Unconfirmed Andrew                Joseph         Bailey                                         Sibling           9/5/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                        Kingdom                                      01616-JR; P4120

                                                                                                                                                                                                                                     DKT 305; 1:02-cv-
20   Maureen                Elizabeth     Basnicki                                                       Canada     Kenneth              William        Basnicki                         Canada       Spouse             9/5/2003                           n/a         n/a                   n/a      $   12,500,000.00
                                                                                                                                                                                                                                     01616-JR; P4121

                                                                                                                                                                                                                                     DKT 305; 1:02-cv-
21   Jean                   Annie         Basnicki                                                       Canada     Kenneth              William        Basnicki                         Canada        Parent            9/5/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                     01616-JR; P4124

                                                                                                                                                                                                                                     DKT 305; 1:02-cv-
22   William                              Basnicki                                                       Canada     Kenneth              William        Basnicki                         Canada        Parent            9/5/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                     01616-JR; P4123

                                                                                                                                                                                                                                     DKT 305; 1:02-cv-
23   Brennan                              Basnicki                                                       Canada     Kenneth              William        Basnicki                         Canada          Child           9/5/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                     01616-JR; P4122

                                                                                                                                                                                                                                     DKT 305; 1:02-cv-
24   Robert                 Joseph        Basnicki                                                       Canada     Kenneth              William        Basnicki                         Canada        Sibling           9/5/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                     01616-JR; P4125

                                                                                                                                                                                                                                     DKT 305; 1:02-cv-
25   Chris                  Daniel        Basnicki                                                       Canada     Kenneth              William        Basnicki                         Canada        Sibling           9/5/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                     01616-JR; P4126

                                                                                                                                                                                         United                                      DKT 313; 1:02-cv-
26   Drew                   David         McIntosh                                                       Canada     Jane                                Beatty                                           Child           9/10/2003                          n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                        Kingdom                                      01616-JR; P4608

                                                                                                                                                                                         United                                      DKT 313; 1:02-cv-
27   Brent                                McIntosh                                                       Canada     Jane                                Beatty                                           Child           9/10/2003                          n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                        Kingdom                                      01616-JR; P4609

                                                                                                         United                                                                          United                                      DKT 313; 1:02-cv-
28   Joy                                  Bennett                                                                   Oliver               Duncan         Bennett                                        Parent            9/10/2003                          n/a         n/a                   n/a      $    8,500,000.00
                                                                                                        Kingdom                                                                         Kingdom                                      01616-JR; AP276

                                                                                                         United                                                                          United                                      DKT 313; 1:02-cv-
29   Adrian                 John Moberly Bennett                                                                    Oliver               Duncan         Bennett                                        Parent            9/10/2003                          n/a         n/a                   n/a      $    8,500,000.00
                                                                                                        Kingdom                                                                         Kingdom                                      01616-JR; AP275

                                                                                                         United                                                                          United                                      DKT 232; 1:02-cv-
30   Justin                 Michael       Bennett                                                                   Oliver               Duncan         Bennett                                        Sibling           8/1/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                        Kingdom                                                                         Kingdom                                      01616-JR; AP243

                                                                                                                                                                                                                                     DKT 313; 1:02-cv-
31   Alfred                               Boulton                                                       Venezuela   J.                   Howard         Boulton              Jr.        Venezuela      Sibling           9/10/2003                          n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                     01616-JR; AP262




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                                                                                   Case 1:03-cv-09849-GBD-SN Document 1045-7 Filed 10/04/22 Page 3 of 24

EXHIBIT C-3                                                                                                                                                            Burnett, et al. v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                   Wrongful-Death Solatium Claims Under Common Law for Foreign or Unconfirmed Nationals




                                                                                                                                                                                                                                                                      ECF Number of Prior
                                                                                                                                                                                                     Decedent/ Injured
                                                                                                                                                                                                      Relationship of




                                                                                                                                                                                                                                                                        MDL Judgment
                                                                Plaintiff Suffix




                                                                                                                                                                                                        Plaintiff to
                                                                                                                                            9/11                                                                                       Docket Entry          Case                                           Prior MDL
                              Plaintiff                                                                                                                                                  9/11                               Date                                                             Date of




                                                                                                                                                                              Suffix
                                                                                    Estate Personal     Plaintiff  9/11 Decedent First    Decedent      9/11 Decedent Last                                                              When First        Number of                                         Judgment
#    Plaintiff First Name      Middle     Plaintiff Last Name                                                                                                                           Client's                          Plaintiff                                                         Prior MDL
                                                                                   Representative(s)   Nationality       Name              Middle             Name                                                                      Added to          Prior MDL                                      Value/Solatium
                               Name                                                                                                                                                    Nationality                         Added                                                            Judgment
                                                                                                                                           Name                                                                                         Complaint         Judgment                                      Judgment Amount



                                                                                                                                                                                                                                      DKT 313; 1:02-cv-
32   Renata                               Szokoloczi                                                   Unconfirmed J.                    Howard         Boulton              Jr.        Venezuela      Parent            9/10/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                      01616-JR; AP261

                                                                                                                                                                                                                                      DKT 77; 1:02-cv-
33   Michel                               Braut                                                          Belgium   Patrice                              Braut                            Belgium       Parent            2/21/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                      01616-JR; P2544

                                                                                                                                                                                                                                      DKT 77; 1:02-cv-
34   Paola                                Storer                                                       Unconfirmed Patrice                              Braut                            Belgium       Parent            2/21/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                      01616-JR; P2711

                                                                                                         United                                                                          United                                       DKT 313; 1:02-cv-
35   Winifred                             Bristow                                                                  Paul                  Gary           Bristow                                        Parent            9/10/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                        Kingdom                                                                         Kingdom                                       01616-JR; AP283

                                                                                                         United                                                                          United                                       DKT 313; 1:02-cv-
36   Derek                  Edward        Bristow                                                                  Paul                  Gary           Bristow                                        Parent            9/10/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                        Kingdom                                                                         Kingdom                                       01616-JR; AP282
                                                                                                                                                                                                                                    DKT 26, 29; 1:02-
37   Isoline                              Broomfield                                                   Unconfirmed Keith                                Broomfield                     Unconfirmed     Parent            11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                    1875
                                                                                                                                                                                                                                    DKT 26, 29; 1:02-
38   Victoria                             Cabezas                                                      Unconfirmed Jesus                                Cabezas                         Ecuador       Spouse             11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $   12,500,000.00
                                                                                                                                                                                                                                    1877
                                                                                                         United                                                                          United                                       DKT 305; 1:02-cv-
39   Malcolm                Phillip       Campbell                                                                 Geoff                 Thomas         Campbell                                       Parent             9/5/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                        Kingdom                                                                         Kingdom                                       01616-JR; P4158

                                                                                                         United                                                                          United                                       DKT 232; 1:02-cv-
40   Sarah                  Jane          Carrington                                                               Jeremy                Mark           Carrington                                     Sibling            8/1/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                        Kingdom                                                                         Kingdom                                       01616-JR; P3628

                                                                                                         United                                                                          United                                       DKT 313; 1:02-cv-
41   Edwina                               Carrington                                                               Jeremy                Mark           Carrington                                     Sibling           9/10/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                        Kingdom                                                                         Kingdom                                       01616-JR; AP274

                                                                                                         United                                                                          United                                       DKT 313; 1:02-cv-
42   Michael                Rodney        Carrington                                                               Jeremy                Mark           Carrington                                     Parent            9/10/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                        Kingdom                                                                         Kingdom                                       01616-JR; AP272

                                                                                                                                                                                         United                                       DKT 232; 1:02-cv-
43   Catherine              Mary          Ross                                                         Unconfirmed Jeremy                Mark           Carrington                                     Parent             8/1/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                        Kingdom                                       01616-JR; P3629

                                                                                                                                                                                                                                      DKT 432; 1:02-cv-
44   Haim                                 Chalouh                                                         Syria    Eli                                  Chalouh                        Unconfirmed     Sibling           12/19/2003                          n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                      01616-JR; P4793

                                                                                                                                                                                                                                      DKT 232; 1:02-cv-
45   Denise                               Burger                                                       Unconfirmed David                 Michael        Charlebois                     Unconfirmed     Sibling            8/1/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                      01616-JR; P3632

                                                                                                         United                                                                          United                                       DKT 305; 1:02-cv-
46   Margaret               Alexandra     Clarke                                                                   Suria                 R. E.          Clarke                                         Parent             9/5/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                        Kingdom                                                                         Kingdom                                       01616-JR; P4180

                                                                                                                                                                                         United                                       DKT 305; 1:02-cv-
47   Thomas                 J.W.          Clarke                                                       Unconfirmed Suria                 R. E.          Clarke                                         Sibling            9/5/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                        Kingdom                                       01616-JR; P4182




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                                                                                      Case 1:03-cv-09849-GBD-SN Document 1045-7 Filed 10/04/22 Page 4 of 24

EXHIBIT C-3                                                                                                                                                             Burnett, et al. v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                  Wrongful-Death Solatium Claims Under Common Law for Foreign or Unconfirmed Nationals




                                                                                                                                                                                                                                                                       ECF Number of Prior
                                                                                                                                                                                                     Decedent/ Injured
                                                                                                                                                                                                      Relationship of




                                                                                                                                                                                                                                                                         MDL Judgment
                                                                   Plaintiff Suffix




                                                                                                                                                                                                        Plaintiff to
                                                                                                                                               9/11                                                                                    Docket Entry          Case                                             Prior MDL
                                 Plaintiff                                                                                                                                               9/11                               Date                                                               Date of




                                                                                                                                                                              Suffix
                                                                                       Estate Personal     Plaintiff  9/11 Decedent First    Decedent    9/11 Decedent Last                                                             When First        Number of                                           Judgment
#    Plaintiff First Name         Middle     Plaintiff Last Name                                                                                                                        Client's                          Plaintiff                                                           Prior MDL
                                                                                      Representative(s)   Nationality       Name              Middle           Name                                                                     Added to          Prior MDL                                        Value/Solatium
                                  Name                                                                                                                                                 Nationality                         Added                                                              Judgment
                                                                                                                                              Name                                                                                      Complaint         Judgment                                        Judgment Amount



                                                                                                            United                                                                       United                                       DKT 305; 1:02-cv-
48   John                   A.G.             Clarke                                                                   Suria                 R. E.        Clarke                                        Sibling            9/5/2003                           n/a          n/a                    n/a      $    4,250,000.00
                                                                                                           Kingdom                                                                      Kingdom                                       01616-JR; P4181

                                                                                                                                                                                                                                      DKT 305; 1:02-cv-
49   Sheila                                  Connolly                                                       Canada    Cynthia               Marie        Connolly                        Canada        Parent             9/5/2003                           n/a          n/a                    n/a      $    8,500,000.00
                                                                                                                                                                                                                                      01616-JR; P4202

                                                                                                                                                                                                                                      DKT 305; 1:02-cv-
50   Donald                 Jacques          Poissant                                                       Canada    Cynthia               Marie        Connolly                        Canada       Spouse              9/5/2003                           n/a          n/a                    n/a      $   12,500,000.00
                                                                                                                                                                                                                                      01616-JR; P4201
                                                                                                                                                                                                                                    DKT 26, 29; 1:02-
51   J.H.C.                                                                                               Unconfirmed James                 L.           Connor                        Unconfirmed       Child           11/22/2002 cv-01616-JR;             n/a          n/a                    n/a      $    8,500,000.00
                                                                                                                                                                                                                                    1893
                                                                                                                                                                                                                                    DKT 26, 29; 1:02-
52   J.P.C.                                                                                               Unconfirmed James                 L.           Connor                        Unconfirmed       Child           11/22/2002 cv-01616-JR;             n/a          n/a                    n/a      $    8,500,000.00
                                                                                                                                                                                                                                    1893
                                                                                                                                                                                       St. Vincent
                                                                                                                                                                                                                                      DKT 432; 1:02-cv-
53   Princina               S.               Cox                                                             Other    Andre                              Cox                            and the        Parent            12/19/2003                          n/a          n/a                    n/a      $    8,500,000.00
                                                                                                                                                                                                                                      01616-JR; P4801
                                                                                                                                                                                       Grenadines
                                                                                                                                                                                       St. Vincent
                                                                                                                                                                                                                                      DKT 432; 1:02-cv-
54   Wendell                                 Cox                                                             Other    Andre                              Cox                            and the        Sibling           12/19/2003                          n/a          n/a                    n/a      $    4,250,000.00
                                                                                                                                                                                                                                      01616-JR; P4802
                                                                                                                                                                                       Grenadines
                                                                                                                                                                                                                                      DKT 305; 1:02-cv-
55   Mary                   Elizabeth        Cregan                                                         Ireland   Joanne                Mary         Cregan                          Ireland       Parent             9/5/2003                           n/a          n/a                    n/a      $    8,500,000.00
                                                                                                                                                                                                                                      01616-JR; P4210

                                                                                                                                                                                                                                      DKT 305; 1:02-cv-
56   Ronald                 Bernard          Cregan                                                         Ireland   Joanne                Mary         Cregan                          Ireland       Parent             9/5/2003                           n/a          n/a                    n/a      $    8,500,000.00
                                                                                                                                                                                                                                      01616-JR; P4209

                                                                                                                                                                                                                                      DKT 313; 1:02-cv-
57   Ronald                 Patrick          Cregan                                                         Ireland   Joanne                Mary         Cregan                          Ireland       Sibling           9/10/2003                           n/a          n/a                    n/a      $    4,250,000.00
                                                                                                                                                                                                                                      01616-JR; P4633

                                                                                                                                                                                                                                      DKT 313; 1:02-cv-
58   Grace                  Elizabeth        Friend                                                       Unconfirmed Joanne                Mary         Cregan                          Ireland       Sibling           9/10/2003                           n/a          n/a                    n/a      $    4,250,000.00
                                                                                                                                                                                                                                      01616-JR; P4634

                                                                                                            United                                                                       United                                       DKT 313; 1:02-cv-
59   Sheila                                  Morgan                                                                   Neil                  James        Cudmore                                       Parent            9/10/2003                      02-cv-7230    4087                   8/7/2018     $     8,500,000.00
                                                                                                           Kingdom                                                                      Kingdom                                       01616-JR; AP263

                                                                                                            United                                                                       United                                       DKT 313; 1:02-cv-
60   Keith                                   Cudmore                                                                  Neil                  James        Cudmore                                       Sibling           9/10/2003                           n/a          n/a                    n/a      $    4,250,000.00
                                                                                                           Kingdom                                                                      Kingdom                                       01616-JR; AP265

                                                                                                            United                                                                       United                                       DKT 313; 1:02-cv-
61   Paul                                    Cudmore                                                                  Neil                  James        Cudmore                                       Sibling           9/10/2003                           n/a          n/a                    n/a      $    4,250,000.00
                                                                                                           Kingdom                                                                      Kingdom                                       01616-JR; AP266

                                                                                                                                                                                         United                                       DKT 313; 1:02-cv-
62   Joanne                                  Hadj-Aissa                                                   Unconfirmed Neil                  James        Cudmore                                       Sibling           9/10/2003                           n/a          n/a                    n/a      $    4,250,000.00
                                                                                                                                                                                        Kingdom                                       01616-JR; AP264
                                                                                                                                                                                         United                                       DKT 1; 1:02-cv-
63   Selena                 Edna Irene       Dack-Forsyth                                                   Canada    Caleb                 Arron        Dack                                          Parent            8/15/2002                           n/a          n/a                    n/a      $    8,500,000.00
                                                                                                                                                                                        Kingdom                                       01616-JR; 154




                                                                                                                                                    Page 4 of 24
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EXHIBIT C-3                                                                                                                                                               Burnett, et al. v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                    Wrongful-Death Solatium Claims Under Common Law for Foreign or Unconfirmed Nationals




                                                                                                                                                                                                                                                                         ECF Number of Prior
                                                                                                                                                                                                       Decedent/ Injured
                                                                                                                                                                                                        Relationship of




                                                                                                                                                                                                                                                                           MDL Judgment
                                                                   Plaintiff Suffix




                                                                                                                                                                                                          Plaintiff to
                                                                                                                                               9/11                                                                                      Docket Entry          Case                                             Prior MDL
                                 Plaintiff                                                                                                                                                 9/11                               Date                                                               Date of




                                                                                                                                                                                Suffix
                                                                                       Estate Personal     Plaintiff  9/11 Decedent First    Decedent      9/11 Decedent Last                                                             When First        Number of                                           Judgment
#    Plaintiff First Name         Middle     Plaintiff Last Name                                                                                                                          Client's                          Plaintiff                                                           Prior MDL
                                                                                      Representative(s)   Nationality       Name              Middle             Name                                                                     Added to          Prior MDL                                        Value/Solatium
                                  Name                                                                                                                                                   Nationality                         Added                                                              Judgment
                                                                                                                                              Name                                                                                        Complaint         Judgment                                        Judgment Amount



                                                                                                                                                                                                                                        DKT 155; 1:02-cv-
64   M.J.D.                                                                                               Unconfirmed Manuel                John           DaMota                         Portugal         Child           5/23/2003                           n/a          n/a                    n/a      $    8,500,000.00
                                                                                                                                                                                                                                        01616-JR; P2868

                                                                                                                                                                                                                                        DKT 155; 1:02-cv-
65   Barbara                E.               DaMota                                                       Unconfirmed Manuel                John           DaMota                         Portugal      Spouse             5/23/2003                           n/a          n/a                    n/a      $   12,500,000.00
                                                                                                                                                                                                                                        01616-JR; P2868

                                                                                                            United                                                                         United                                       DKT 232; 1:02-cv-
66   Helen                  Katrina          Dawson                                                                     Anthony             Richard        Dawson                                        Parent             8/1/2003                           n/a          n/a                    n/a      $    8,500,000.00
                                                                                                           Kingdom                                                                        Kingdom                                       01616-JR; P3668
                                                                                                                                                                                                                                        DKT 1; 1:02-cv-
67   Asuncion               Malabuyoc        de Chavez                                                    Philippines   Jayceryll           Malabuyoc      de Chavez                     Philippines     Parent            8/15/2002                           n/a          n/a                    n/a      $    8,500,000.00
                                                                                                                                                                                                                                        01616-JR; 872
                                                                                                                                                                                                                                        DKT 1; 1:02-cv-
68   Bibiano                M.               de Chavez                                                    Philippines   Jayceryll           Malabuyoc      de Chavez                     Philippines     Parent            8/15/2002                           n/a          n/a                    n/a      $    8,500,000.00
                                                                                                                                                                                                                                        01616-JR; 870
                                                                                                                                                                                                                                        DKT 232; 1:02-cv-
69   Gladys                                  de la Torre                                                  Unconfirmed Azucena                              de la Torre                   Unconfirmed     Sibling            8/1/2003                           n/a          n/a                    n/a      $    4,250,000.00
                                                                                                                                                                                                                                        01616-JR; P3670

                                                                                                            United                                                                         United                                       DKT 313; 1:02-cv-
70   Ruth                                    de Vere                                                                    Melanie             Louise         De Vere                                       Sibling           9/10/2003                           n/a          n/a                    n/a      $    4,250,000.00
                                                                                                           Kingdom                                                                        Kingdom                                       01616-JR; AP287

                                                                                                            United                                                                         United                                       DKT 232; 1:02-cv-
71   David                                   de Vere                                                                    Melanie             Louise         De Vere                                       Parent             8/1/2003                           n/a          n/a                    n/a      $    8,500,000.00
                                                                                                           Kingdom                                                                        Kingdom                                       01616-JR; P3674

                                                                                                            United                                                                         United                                       DKT 305; 1:02-cv-
72   Frederick                               de Vere                                                                    Melanie             Louise         De Vere                                       Sibling            9/5/2003                           n/a          n/a                    n/a      $    4,250,000.00
                                                                                                           Kingdom                                                                        Kingdom                                       01616-JR; P4227

                                                                                                            United                                                                         United                                       DKT 232; 1:02-cv-
73   Margaret               H.               Owen                                                                       Melanie             Louise         De Vere                                       Parent             8/1/2003                           n/a          n/a                    n/a      $    8,500,000.00
                                                                                                           Kingdom                                                                        Kingdom                                       01616-JR; P3675

                                                                                                                                                                                                                                        DKT 432; 1:02-cv-
74   Pedro                  Ernesto          Pocasangre                                                   El Salvador   Ana                 Gloria         deBarrera                     El Salvador     Sibling           12/19/2003                     15-cv-9903    3666                   7/31/2017    $     4,250,000.00
                                                                                                                                                                                                                                        01616-JR; P4820

                                                                                                                                                                                                                                        DKT 432; 1:02-cv-
75   Ivonne                 Pocasangre       Lopez                                                        Unconfirmed Ana                   Gloria         deBarrera                     El Salvador     Sibling           12/19/2003                          n/a          n/a                    n/a      $    4,250,000.00
                                                                                                                                                                                                                                        01616-JR; P4822

                                                                                                                                                                                                                                        DKT 432; 1:02-cv-
76   Maria                  Luisa            Pocasangre                                                   El Salvador   Ana                 Gloria         deBarrera                     El Salvador     Parent            12/19/2003                          n/a          n/a                    n/a      $    8,500,000.00
                                                                                                                                                                                                                                        01616-JR; P4819

                                                                                                                                                                                                                                        DKT HAND FILED;
77   Alfredo                                 Pocasangre                                                   El Salvador   Ana                 Gloria         deBarrera                     El Salvador     Parent            3/10/2004    1:03-cv-9849           n/a          n/a                    n/a      $    8,500,000.00
                                                                                                                                                                                                                                        (RCC); P5032

                                                                                                                                                                                                                                        DKT 232; 1:02-cv-
78   Yassin                                  Johnson                                                      Unconfirmed Jamal                 Legesse        DeSantis                      Unconfirmed     Sibling            8/1/2003                           n/a          n/a                    n/a      $    4,250,000.00
                                                                                                                                                                                                                                        01616-JR; AP242
                                                                                                                                                                                                                                        DKT 3; 1:02-cv-
79   Petronilo              Ruiz Diaz        Cantero                                                       Paraguay     Obdulio             Ruiz           Diaz                           Paraguay       Parent             9/4/2002                           n/a          n/a                    n/a      $    8,500,000.00
                                                                                                                                                                                                                                        01616-JR; 1070
                            Ucedo De                                                                                                                                                                                                    DKT 3; 1:02-cv-
80   Cecilia                                 Diaz                                                          Paraguay     Obdulio             Ruiz           Diaz                           Paraguay       Parent             9/4/2002                           n/a          n/a                    n/a      $    8,500,000.00
                            Ruiz                                                                                                                                                                                                        01616-JR; 1071




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EXHIBIT C-3                                                                                                                                                                Burnett, et al. v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                     Wrongful-Death Solatium Claims Under Common Law for Foreign or Unconfirmed Nationals




                                                                                                                                                                                                                                                                         ECF Number of Prior
                                                                                                                                                                                                        Decedent/ Injured
                                                                                                                                                                                                         Relationship of




                                                                                                                                                                                                                                                                           MDL Judgment
                                                                    Plaintiff Suffix




                                                                                                                                                                                                           Plaintiff to
                                                                                                                                                9/11                                                                                      Docket Entry          Case                                           Prior MDL
                                 Plaintiff                                                                                                                                                  9/11                               Date                                                             Date of




                                                                                                                                                                                 Suffix
                                                                                        Estate Personal     Plaintiff  9/11 Decedent First    Decedent      9/11 Decedent Last                                                             When First        Number of                                         Judgment
#    Plaintiff First Name         Middle     Plaintiff Last Name                                                                                                                           Client's                          Plaintiff                                                         Prior MDL
                                                                                       Representative(s)   Nationality       Name              Middle             Name                                                                     Added to          Prior MDL                                      Value/Solatium
                                  Name                                                                                                                                                    Nationality                         Added                                                            Judgment
                                                                                                                                               Name                                                                                        Complaint         Judgment                                      Judgment Amount



                                                                                                                                                                                                                                         DKT 432; 1:02-cv-
81   R.E.D.                                                                                                Unconfirmed Robert                E.             Dolan                         Unconfirmed       Child           12/19/2003                          n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                         01616-JR; P4831

                                                                                                                                                                                                                                         DKT 432; 1:02-cv-
82   R.L.D.                                                                                                Unconfirmed Robert                E.             Dolan                         Unconfirmed       Child           12/19/2003                          n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                         01616-JR; P4831

                                                                                                                                                                                                                                         DKT 432; 1:02-cv-
83   Lisa                   T.               Dolan                                                         Unconfirmed Robert                E.             Dolan                         Unconfirmed    Spouse             12/19/2003                          n/a         n/a                   n/a      $   12,500,000.00
                                                                                                                                                                                                                                         01616-JR; P4831

                                                                                                                                                                                                                                         DKT 305; 1:02-cv-
84   D.D.                                                                                                  Unconfirmed Benilda               Pasqua         Domingo                       Philippines       Child            9/5/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                         01616-JR; P4240

                                                                                                                                                                                                                                         DKT 305; 1:02-cv-
85   L.A.D.                                                                                                Unconfirmed Benilda               Pasqua         Domingo                       Philippines       Child            9/5/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                         01616-JR; P4240

                                                                                                                                                                                                                                         DKT 305; 1:02-cv-
86   Y.D.                                                                                                  Unconfirmed Benilda               Pasqua         Domingo                       Philippines       Child            9/5/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                         01616-JR; P4240

                                                                                                                                                                                                                                         DKT 232; 1:02-cv-
87   Marion                                  Donovan                                                       Unconfirmed Jacqueline                           Donovan                       Unconfirmed     Parent             8/1/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                         01616-JR; P3680

                                                                                                                                                                                                                                         DKT 232; 1:02-cv-
88   James                                   Donovan               Jr.                                     Unconfirmed Jacqueline                           Donovan                       Unconfirmed     Sibling            8/1/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                         01616-JR; P3677
                                                                                                                                                                                                                                       DKT 26, 29; 1:02-
89   Thomas                 John             Duffy                                                         Unconfirmed Gerard                J.             Duffy                         Unconfirmed     Sibling           11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                       3069
                                                                                                                                                                                                                                         DKT 305; 1:02-cv-
90   Laura                  Theresa          Eaton                                                         Unconfirmed Robert                Douglas        Eaton                         Unconfirmed     Parent             9/5/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                         01616-JR; P4247

                                                                                                                                                                                                                                         DKT 305; 1:02-cv-
91   Douglas                                 Eaton                                                         Unconfirmed Robert                Douglas        Eaton                         Unconfirmed     Parent             9/5/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                         01616-JR; P4246

                                                                                                                                                                                                                                         DKT 313; 1:02-cv-
92   Angela                                  Ridge                                                         Unconfirmed Robert                Douglas        Eaton                         Unconfirmed     Sibling           9/10/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                         01616-JR; P4636

                                                                                                                                                                                                                                         DKT 305; 1:02-cv-
93   Barbara                J.               Stephenson                                                    Unconfirmed Robert                Douglas        Eaton                         Unconfirmed     Sibling            9/5/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                         01616-JR; P4248

                                                                                                                                                                                            United                                       DKT 305; 1:02-cv-
94   Denise                                  Egan                                                          Unconfirmed Christine                            Egan                                          Sibling            9/5/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                           Kingdom                                       01616-JR; P4249

                                                                                                                                                                                                                                         DKT 155; 1:02-cv-
95   Anna                   Maria            Egan                                                            Canada     Michael                             Egan                            Canada       Spouse             5/23/2003                           n/a         n/a                   n/a      $   12,500,000.00
                                                                                                                                                                                                                                         01616-JR; P2887

                                                                                                                                                                                                                                         DKT 155; 1:02-cv-
96   Matthew                B.               Egan                                                           Bermuda     Michael                             Egan                            Canada          Child           5/23/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                         01616-JR; P2887




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                                                                                       Case 1:03-cv-09849-GBD-SN Document 1045-7 Filed 10/04/22 Page 7 of 24

EXHIBIT C-3                                                                                                                                                              Burnett, et al. v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                     Wrongful-Death Solatium Claims Under Common Law for Foreign or Unconfirmed Nationals




                                                                                                                                                                                                                                                                       ECF Number of Prior
                                                                                                                                                                                                       Decedent/ Injured
                                                                                                                                                                                                        Relationship of




                                                                                                                                                                                                                                                                         MDL Judgment
                                                                    Plaintiff Suffix




                                                                                                                                                                                                          Plaintiff to
                                                                                                                                                9/11                                                                                    Docket Entry          Case                                           Prior MDL
                                 Plaintiff                                                                                                                                                 9/11                              Date                                                             Date of




                                                                                                                                                                                Suffix
                                                                                        Estate Personal     Plaintiff  9/11 Decedent First    Decedent    9/11 Decedent Last                                                             When First        Number of                                         Judgment
#    Plaintiff First Name         Middle     Plaintiff Last Name                                                                                                                          Client's                         Plaintiff                                                         Prior MDL
                                                                                       Representative(s)   Nationality       Name              Middle           Name                                                                     Added to          Prior MDL                                      Value/Solatium
                                  Name                                                                                                                                                   Nationality                        Added                                                            Judgment
                                                                                                                                               Name                                                                                      Complaint         Judgment                                      Judgment Amount



                                                                                                                                                                                                                                       DKT 155; 1:02-cv-
97   Jonathan               J.               Egan                                                            Ireland   Michael                            Egan                             Canada          Child           5/23/2003                          n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                       01616-JR; P2888

                                                                                                                                                                                                                                       DKT 313; 1:02-cv-
98   L.M.E.                                                                                                Unconfirmed Albert                W.           Elmarry                        Unconfirmed       Child           9/10/2003                          n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                       01616-JR; P4638

                                                                                                                                                                                                                                       DKT 313; 1:02-cv-
99   Irinie                                  Guirguis                                                      Unconfirmed Albert                W.           Elmarry                        Unconfirmed    Spouse             9/10/2003                          n/a         n/a                   n/a      $   12,500,000.00
                                                                                                                                                                                                                                       01616-JR; P4638

                                                                                                                                                                                                                                       DKT 155; 1:02-cv-
100 Jean                    A.               Etzold                                                        Unconfirmed Barbara                            Etzold                         Unconfirmed     Parent            5/23/2003                          n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                       01616-JR; P2890

                                                                                                                                                                                                                                       DKT 305; 1:02-cv-
101 Jennifer                Rene             Ewart                                                           Canada    Meredith              Emily June   Ewart                            Canada        Sibling           9/5/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                       01616-JR; P4251

                                                                                                                                                                                                                                       DKT 305; 1:02-cv-
102 Robert                  G.               Ewart                                                           Canada    Meredith              Emily June   Ewart                            Canada        Parent            9/5/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                       01616-JR; P4252

                                                                                                                                                                                                                                       DKT 305; 1:02-cv-
103 Catherine                                Riley-Ewart                                                     Canada    Meredith              Emily June   Ewart                            Canada        Parent            9/5/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                       01616-JR; P4253

                                                                                                                                                                                                                                       DKT 305; 1:02-cv-
104 Lauren                  Marie            Fazio                                                         Unconfirmed Ronald                C.           Fazio                Sr.       Unconfirmed       Child           9/5/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                       01616-JR; P4272

                                                                                                                                                                                                                                       DKT 305; 1:02-cv-
105 Janet                                    Fazio                                                         Unconfirmed Ronald                C.           Fazio                Sr.       Unconfirmed    Spouse             9/5/2003                           n/a         n/a                   n/a      $   12,500,000.00
                                                                                                                                                                                                                                       01616-JR; P4269

                                                                                                                                                                                                                                       DKT 305; 1:02-cv-
106 Robert                                   Fazio                                                         Unconfirmed Ronald                C.           Fazio                Sr.       Unconfirmed       Child           9/5/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                       01616-JR; P4270

                                                                                                                                                                                                                                       DKT 305; 1:02-cv-
107 Ronald                  C.               Fazio                 Jr.                                     Unconfirmed Ronald                C.           Fazio                Sr.       Unconfirmed       Child           9/5/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                       01616-JR; P4271
                                                                                                                                                                                           United                                      DKT 3; 1:02-cv-
108 Kirsten                 E.               Forsythe                                                      Unconfirmed Christopher           Hugh         Forsythe                                         Child           9/4/2002                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                          Kingdom                                      01616-JR; 1126
                                                                                                                                                                                           United                                      DKT 3; 1:02-cv-
109 Tessie                                   Molina                                                        Unconfirmed Christopher           Hugh         Forsythe                                      Spouse             9/4/2002                           n/a         n/a                   n/a      $   12,500,000.00
                                                                                                                                                                                          Kingdom                                      01616-JR; 1126
                                                                                                                                                                                                                                       DKT 232; 1:02-cv-
110 A.H.G.                                                                                                 Unconfirmed Christopher           S.           Gardner                        Unconfirmed       Child           8/1/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                       01616-JR; P3699

                                                                                                                                                                                                                                       DKT 232; 1:02-cv-
111 C.L.G.                                                                                                 Unconfirmed Christopher           S.           Gardner                        Unconfirmed       Child           8/1/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                       01616-JR; P3699

                                                                                                                                                                                                                                       DKT 232; 1:02-cv-
112 Susan                   L.               Gardner                                                       Unconfirmed Christopher           S.           Gardner                        Unconfirmed    Spouse             8/1/2003                           n/a         n/a                   n/a      $   12,500,000.00
                                                                                                                                                                                                                                       01616-JR; P3699

                                                                                                                                                                                                                                       DKT 305; 1:02-cv-
113 Hans                    J.               Gerhardt                                                      Unconfirmed Ralph                              Gerhardt                         Canada        Parent            9/5/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                       01616-JR; P4292




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                                                                                      Case 1:03-cv-09849-GBD-SN Document 1045-7 Filed 10/04/22 Page 8 of 24

EXHIBIT C-3                                                                                                                                                              Burnett, et al. v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                   Wrongful-Death Solatium Claims Under Common Law for Foreign or Unconfirmed Nationals




                                                                                                                                                                                                                                                                       ECF Number of Prior
                                                                                                                                                                                                      Decedent/ Injured
                                                                                                                                                                                                       Relationship of




                                                                                                                                                                                                                                                                         MDL Judgment
                                                                   Plaintiff Suffix




                                                                                                                                                                                                         Plaintiff to
                                                                                                                                               9/11                                                                                     Docket Entry          Case                                           Prior MDL
                                 Plaintiff                                                                                                                                                9/11                               Date                                                             Date of




                                                                                                                                                                               Suffix
                                                                                       Estate Personal     Plaintiff  9/11 Decedent First    Decedent     9/11 Decedent Last                                                             When First        Number of                                         Judgment
#    Plaintiff First Name         Middle     Plaintiff Last Name                                                                                                                         Client's                          Plaintiff                                                         Prior MDL
                                                                                      Representative(s)   Nationality       Name              Middle            Name                                                                     Added to          Prior MDL                                      Value/Solatium
                                  Name                                                                                                                                                  Nationality                         Added                                                            Judgment
                                                                                                                                              Name                                                                                       Complaint         Judgment                                      Judgment Amount


                                                                                                                                                                                                                                       DKT 3; 1:02-cv-
114 Stephan                 Joachim          Gerhardt                                                       Canada    Ralph                               Gerhardt                        Canada        Sibling            9/4/2002                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                       01616-JR; 1161
                                                                                                                                                                                                                                       DKT 3; 1:02-cv-
115 E.G.                                                                                                  Unconfirmed James                               Giberson                      Unconfirmed       Child            9/4/2002                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                       01616-JR; 1163
                                                                                                                                                                                                                                       DKT 3; 1:02-cv-
116 K.G.                                                                                                  Unconfirmed James                               Giberson                      Unconfirmed       Child            9/4/2002                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                       01616-JR; 1163
                                                                                                                                                                                                                                       DKT 3; 1:02-cv-
117 S.G.                                                                                                  Unconfirmed James                               Giberson                      Unconfirmed       Child            9/4/2002                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                       01616-JR; 1163
                                                                                                                                                                                                                                       DKT 3; 1:02-cv-
118 Susan                                    Giberson                                                     Unconfirmed James                               Giberson                      Unconfirmed    Spouse              9/4/2002                           n/a         n/a                   n/a      $   12,500,000.00
                                                                                                                                                                                                                                       01616-JR; 1163
                                                                                                                                                                                                                                       DKT 26, 29; 1:02-
119 A.G.                                                                                                  Unconfirmed Timothy               Paul          Gilbert                       Unconfirmed       Child           11/22/2002   cv-01616-JR;           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                       1984
                                                                                                                                                                                                                                       DKT 26, 29; 1:02-
120 B.G.                                                                                                  Unconfirmed Timothy               Paul          Gilbert                       Unconfirmed       Child           11/22/2002   cv-01616-JR;           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                       1984
                                                                                                                                                                                                                                       DKT 26, 29; 1:02-
121 M.G.                                                                                                  Unconfirmed Timothy               Paul          Gilbert                       Unconfirmed       Child           11/22/2002   cv-01616-JR;           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                       1984
                                                                                                                                                                                                                                       DKT 26, 29; 1:02-
122 M.G.                                                                                                  Unconfirmed Timothy               Paul          Gilbert                       Unconfirmed       Child           11/22/2002   cv-01616-JR;           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                       1984
                                                                                                                                                                                                                                       DKT 26, 29; 1:02-
123 Jacqueline                               Gilbert                                                      Unconfirmed Timothy               Paul          Gilbert                       Unconfirmed    Spouse             11/22/2002   cv-01616-JR;           n/a         n/a                   n/a      $   12,500,000.00
                                                                                                                                                                                                                                       1984
                                                                                                                                                                                                                                       DKT HAND FILED;
                                                                                                                                                                                          United
124 H.G.                                                                                                  Unconfirmed Paul                  Stuart        Gilbey                                          Child           3/10/2004    1:03-cv-9849           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                         Kingdom
                                                                                                                                                                                                                                       (RCC); P5067
                                                                                                                                                                                                                                     DKT 26, 29; 1:02-
                                                                                                            United                                                                        United
125 Deena                   Joan             Gilbey                                                                   Paul                  Stuart        Gilbey                                       Spouse             11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $   12,500,000.00
                                                                                                           Kingdom                                                                       Kingdom
                                                                                                                                                                                                                                     1987
                                                                                                                                                                                                                                     DKT 1; 1:02-cv-
126 Eleanor                                  Gillette                                                     Unconfirmed Evan                                Gillette                      Unconfirmed     Parent             8/15/2002                          n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                     01616-JR; 241
                                                                                                                                                                                          United                                       DKT 77; 1:02-cv-
127 Ainsley                                  Gilligan                                                     Unconfirmed Ronald                L.            Gilligan                                        Child           2/21/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                         Kingdom                                       01616-JR; P2606

                                                                                                                                                                                          United                                       DKT 77; 1:02-cv-
128 Elizabeth                                Gilligan                                                     Unconfirmed Ronald                L.            Gilligan                                     Spouse             2/21/2003                           n/a         n/a                   n/a      $   12,500,000.00
                                                                                                                                                                                         Kingdom                                       01616-JR; P2609

                                                                                                                                                                                          United                                       DKT 232; 1:02-cv-
129 Colin                   Vincent          Gilligan                                                     Unconfirmed Ronald                L.            Gilligan                                      Sibling            8/1/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                         Kingdom                                       01616-JR; P3701
                                                                                                                                                                                                                                     DKT432; 1:03-md-
                                                                                                            United                                                                        United
130 Raymond                 L.               Gilligan                                                                 Ronald                L.            Gilligan                                      Sibling           9/10/2004  01570-GBD-SN;            n/a         n/a                   n/a      $    4,250,000.00
                                                                                                           Kingdom                                                                       Kingdom
                                                                                                                                                                                                                                     P5362
                                                                                                                                                                                                                                     DKT 26, 29; 1:02-
131 C.G.                                                                                                  Unconfirmed Pedro                               Grehan                         Argentina        Child           11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                     3314




                                                                                                                                                     Page 8 of 24
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EXHIBIT C-3                                                                                                                                                                 Burnett, et al. v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                      Wrongful-Death Solatium Claims Under Common Law for Foreign or Unconfirmed Nationals




                                                                                                                                                                                                                                                                          ECF Number of Prior
                                                                                                                                                                                                         Decedent/ Injured
                                                                                                                                                                                                          Relationship of




                                                                                                                                                                                                                                                                            MDL Judgment
                                                                     Plaintiff Suffix




                                                                                                                                                                                                            Plaintiff to
                                                                                                                                                 9/11                                                                                      Docket Entry          Case                                           Prior MDL
                                 Plaintiff                                                                                                                                                   9/11                               Date                                                             Date of




                                                                                                                                                                                  Suffix
                                                                                         Estate Personal     Plaintiff  9/11 Decedent First    Decedent      9/11 Decedent Last                                                             When First        Number of                                         Judgment
#    Plaintiff First Name         Middle     Plaintiff Last Name                                                                                                                            Client's                          Plaintiff                                                         Prior MDL
                                                                                        Representative(s)   Nationality       Name              Middle             Name                                                                     Added to          Prior MDL                                      Value/Solatium
                                  Name                                                                                                                                                     Nationality                         Added                                                            Judgment
                                                                                                                                                Name                                                                                        Complaint         Judgment                                      Judgment Amount


                                                                                                                                                                                                                                        DKT 26, 29; 1:02-
132 P.G.                                                                                                    Unconfirmed Pedro                                Grehan                         Argentina        Child           11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                        3314
                                                                                                                                                                                                                                        DKT 26, 29; 1:02-
133 S.G.                                                                                                    Unconfirmed Pedro                                Grehan                         Argentina        Child           11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                        3314
                                                                                                                                                                                                                                        DKT 26, 29; 1:02-
134 Victoria                                 Blaksley                                                       Unconfirmed Pedro                                Grehan                         Argentina     Spouse             11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $   12,500,000.00
                                                                                                                                                                                                                                        3314
                                                                                                                                                                                                                                          DKT 305; 1:02-cv-
135 A.J.G.                                                                                                  Unconfirmed Jose                  Antonio        Guadalupe                     Unconfirmed       Child            9/5/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                          01616-JR; P4303

                                                                                                                                                                                                                                          DKT 305; 1:02-cv-
136 Elise                   S.               Guadalupe                                                      Unconfirmed Jose                  Antonio        Guadalupe                     Unconfirmed    Spouse              9/5/2003                           n/a         n/a                   n/a      $   12,500,000.00
                                                                                                                                                                                                                                          01616-JR; P4303

                                                                                                                                                                                                                                          DKT 305; 1:02-cv-
137 Yanique                                  Hall                                                             Jamaica   Vaswald               George         Hall                            Jamaica         Child            9/5/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                          01616-JR; P4307
                                                                                                                                                                                                                                        DKT 26, 29; 1:02-
138 Mary                    Alice            Halloran                                                       Unconfirmed Vincent               Gerard         Halloran                      Unconfirmed     Parent            11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                        3347
                                                                                                                                                                                                                                          DKT 313; 1:02-cv-
139 Lawrence                                 Hardacre (Estate of)                                           Unconfirmed Gerald                               Hardacre                      Unconfirmed     Sibling           9/10/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                          01616-JR; P4656
                                                                                                                                                                                                                                          DKT 1; 1:02-cv-
140 Cynthia                 M.               Casserly                                                       Unconfirmed Stephen               G.             Harrell                       Unconfirmed     Sibling           8/15/2002                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                          01616-JR; 882
                                                                                                                                                                                                                                          DKT 26, 29; 1:02-
141 Molly                                    Dune                                                           Unconfirmed Stephen               G.             Harrell                       Unconfirmed     Sibling           11/22/2002   cv-01616-JR;           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                          3397
                                                                                                                                                                                                                                          DKT 26, 29; 1:02-
142 Miriam                  F.               Harrell                                                        Unconfirmed Stephen               G.             Harrell                       Unconfirmed     Parent            11/22/2002   cv-01616-JR;           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                          3395
                                                                                                                                                                                                                                          DKT 26, 29; 1:02-
143 David                   W.               Harrell                                                        Unconfirmed Stephen               G.             Harrell                       Unconfirmed     Sibling           11/22/2002   cv-01616-JR;           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                          3396
                                                                                                                                                                                                                                          DKT 26, 29; 1:02-
144 Harvey                  L.               Harrell                Sr.                                     Unconfirmed Stephen               G.             Harrell                       Unconfirmed     Parent            11/22/2002   cv-01616-JR;           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                          3394
                                                                                                                                                                                                                                          DKT 313; 1:02-cv-
145 C.H.                                                                                                    Unconfirmed Timothy                              Higgins                       Unconfirmed       Child           9/10/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                          01616-JR; P4658

                                                                                                                                                                                                                                          DKT 313; 1:02-cv-
146 C.H.                                                                                                    Unconfirmed Timothy                              Higgins                       Unconfirmed       Child           9/10/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                          01616-JR; P4658

                                                                                                                                                                                                                                          DKT 313; 1:02-cv-
147 C.H.                                                                                                    Unconfirmed Timothy                              Higgins                       Unconfirmed       Child           9/10/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                          01616-JR; P4658




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EXHIBIT C-3                                                                                                                                                              Burnett, et al. v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                     Wrongful-Death Solatium Claims Under Common Law for Foreign or Unconfirmed Nationals




                                                                                                                                                                                                                                                                        ECF Number of Prior
                                                                                                                                                                                                       Decedent/ Injured
                                                                                                                                                                                                        Relationship of




                                                                                                                                                                                                                                                                          MDL Judgment
                                                                   Plaintiff Suffix




                                                                                                                                                                                                          Plaintiff to
                                                                                                                                               9/11                                                                                      Docket Entry          Case                                           Prior MDL
                                 Plaintiff                                                                                                                                                 9/11                               Date                                                             Date of




                                                                                                                                                                                Suffix
                                                                                       Estate Personal     Plaintiff  9/11 Decedent First    Decedent     9/11 Decedent Last                                                              When First        Number of                                         Judgment
#    Plaintiff First Name         Middle     Plaintiff Last Name                                                                                                                          Client's                          Plaintiff                                                         Prior MDL
                                                                                      Representative(s)   Nationality       Name              Middle            Name                                                                      Added to          Prior MDL                                      Value/Solatium
                                  Name                                                                                                                                                   Nationality                         Added                                                            Judgment
                                                                                                                                              Name                                                                                        Complaint         Judgment                                      Judgment Amount



                                                                                                                                                                                                                                        DKT 313; 1:02-cv-
148 Caren                                    Higgins                                                      Unconfirmed Timothy                             Higgins                        Unconfirmed    Spouse             9/10/2003                           n/a         n/a                   n/a      $   12,500,000.00
                                                                                                                                                                                                                                        01616-JR; P4658

                                                                                                                                                                                                                                        DKT 232; 1:02-cv-
149 Winifred                M.               Homer                                                        Unconfirmed Herbert               Wilson        Homer                          Unconfirmed     Parent             8/1/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                        01616-JR; P3725

                                                                                                                                                                                                                                        DKT 305; 1:02-cv-
150 Karen                   L.               Homer                                                        Unconfirmed Herbert               Wilson        Homer                          Unconfirmed    Spouse              9/5/2003                           n/a         n/a                   n/a      $   12,500,000.00
                                                                                                                                                                                                                                        01616-JR; P4331

                                                                                                                                                                                                                                        DKT 232; 1:02-cv-
151 William                 T.               Homer                                                        Unconfirmed Herbert               Wilson        Homer                          Unconfirmed     Parent             8/1/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                        01616-JR; P3724

                                                                                                                                                                                                                                        DKT 232; 1:02-cv-
152 Stephen                 H.               Homer                                                        Unconfirmed Herbert               Wilson        Homer                          Unconfirmed     Sibling            8/1/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                        01616-JR; P3723
                                                                                                                                                                                                                                      DKT 26, 29; 1:02-
153 Emily                                    Howell                                                       Unconfirmed Michael               C.            Howell                         Unconfirmed    Spouse             11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $   12,500,000.00
                                                                                                                                                                                                                                      3469
                                                                                                                                                                                                                                      DKT 26, 29; 1:02-
154 Kevin                   M.               Howell                                                       Unconfirmed Michael               C.            Howell                         Unconfirmed       Child           11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                      3470
                                                                                                                                                                                           United                                       DKT 313; 1:02-cv-
155 Enfys                                    John                                                         Unconfirmed Nicholas                            John                                           Parent            9/10/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                          Kingdom                                       01616-JR; AP280

                                                                                                                                                                                           United                                       DKT 313; 1:02-cv-
156 Glyn                                     John                                                         Unconfirmed Nicholas                            John                                           Parent            9/10/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                          Kingdom                                       01616-JR; AP279

                                                                                                                                                                                           United                                       DKT 313; 1:02-cv-
157 Andrew                                   John                                                         Unconfirmed Nicholas                            John                                           Sibling           9/10/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                          Kingdom                                       01616-JR; AP281

                                                                                                                                                                                           United                                       DKT 313; 1:02-cv-
158 Timothy                                  John                                                         Unconfirmed Nicholas                            John                                           Sibling           9/10/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                          Kingdom                                       01616-JR; AP273

                                                                                                            United                                                                         United                                       DKT 232; 1:02-cv-
159 Susan                                    Jones                                                                    Christopher           D.            Jones                                         Spouse              8/1/2003                           n/a         n/a                   n/a      $   12,500,000.00
                                                                                                           Kingdom                                                                        Kingdom                                       01616-JR; P4066
                                                                                                                                                                                                                                      DKT 3; 1:02-cv-
160 Carolyn                                  Kelly                                                        Unconfirmed Richard               J.            Kelly                Jr.       Unconfirmed    Spouse              9/4/2002                           n/a         n/a                   n/a      $   12,500,000.00
                                                                                                                                                                                                                                      01616-JR; 1292
                                                                                                                                                                                                                                      DKT 26, 29; 1:02-
161 Nina                                     Kostic                                                       Unconfirmed Bojan                               Kostic                         Unconfirmed     Sibling           11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                      2109
                                                                                                                                                                                                                                        DKT 77; 1:02-cv-
162 Olga                                     Kostic-Jovanovic                                             Unconfirmed Bojan                               Kostic                         Unconfirmed     Sibling           2/21/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                        01616-JR; P2648

                                                                                                                                                                                                                                        DKT 155; 1:02-cv-
163 Yachiyo                                  Kuge                                                         Unconfirmed Toshiya                             Kuge                             Japan         Parent            5/23/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                        01616-JR; P2981




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                                                                                      Case 1:03-cv-09849-GBD-SN Document 1045-7 Filed 10/04/22 Page 11 of 24

EXHIBIT C-3                                                                                                                                                            Burnett, et al. v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                 Wrongful-Death Solatium Claims Under Common Law for Foreign or Unconfirmed Nationals




                                                                                                                                                                                                                                                                     ECF Number of Prior
                                                                                                                                                                                                    Decedent/ Injured
                                                                                                                                                                                                     Relationship of




                                                                                                                                                                                                                                                                       MDL Judgment
                                                                   Plaintiff Suffix




                                                                                                                                                                                                       Plaintiff to
                                                                                                                                               9/11                                                                                   Docket Entry          Case                                           Prior MDL
                                 Plaintiff                                                                                                                                              9/11                               Date                                                             Date of




                                                                                                                                                                             Suffix
                                                                                       Estate Personal     Plaintiff  9/11 Decedent First    Decedent   9/11 Decedent Last                                                             When First        Number of                                         Judgment
#    Plaintiff First Name         Middle     Plaintiff Last Name                                                                                                                       Client's                          Plaintiff                                                         Prior MDL
                                                                                      Representative(s)   Nationality       Name              Middle          Name                                                                     Added to          Prior MDL                                      Value/Solatium
                                  Name                                                                                                                                                Nationality                         Added                                                            Judgment
                                                                                                                                              Name                                                                                     Complaint         Judgment                                      Judgment Amount



                                                                                                                                                                                                                                     DKT 155; 1:02-cv-
164 Hajime                                   Kuge                                                         Unconfirmed Toshiya                           Kuge                            Japan         Parent            5/23/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                     01616-JR; P2979

                                                                                                                                                                                                                                     DKT 155; 1:02-cv-
165 Naoya                                    Kuge                                                         Unconfirmed Toshiya                           Kuge                            Japan         Sibling           5/23/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                     01616-JR; P2980
                                                                                                                                                                                                                                   DKT 26, 29; 1:02-
166 Kristen                                  Kuveikis                                                     Unconfirmed Thomas                J.          Kuveikis                      Unconfirmed       Child           11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                   3575
                                                                                                                                                                                                                                   DKT 26, 29; 1:02-
167 Sonia                                    Gawas                                                        Unconfirmed Ganesh                            Ladkat                           India       Spouse             11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $   12,500,000.00
                                                                                                                                                                                                                                   2117
                                                                                                                                                                                                                                   DKT 26, 29; 1:02-
168 A.S.L.                                                                                                Unconfirmed Jeffrey                           LaTouche                      Unconfirmed       Child           11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                   2125
                                                                                                                                                                                                                                   DKT 26, 29; 1:02-
169 K.B.                                                                                                  Unconfirmed Jeffrey                           LaTouche                      Unconfirmed       Child           11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                   2125
                                                                                                                                                                                                                                     DKT 155; 1:02-cv-
170 Donna                   D.               Bhagwan                                                      Unconfirmed Jeffrey                           LaTouche                      Unconfirmed       Child           5/23/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                     01616-JR; P2986

                                                                                                                                                                                                                                     DKT 313; 1:02-cv-
171 Raphael                 P.               Evans                                                        Unconfirmed Jeffrey                           LaTouche                      Unconfirmed     Sibling           9/10/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                     01616-JR; P4681

                                                                                                                                                                                                                                     DKT 313; 1:02-cv-
172 Esther                  G.               LaTouche                                                     Unconfirmed Jeffrey                           LaTouche                      Unconfirmed     Sibling           9/10/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                     01616-JR; P4682
                                                                                                                                                                                                                                   DKT 26, 29; 1:02-
173 Virginia                                 LaTouche                                                     Unconfirmed Jeffrey                           LaTouche                      Unconfirmed    Spouse             11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $   12,500,000.00
                                                                                                                                                                                                                                   2125
                                                                                                                                                                                                                                     DKT 313; 1:02-cv-
174 Rosanna                                  LaTouche                                                      Grenada    Jeffrey                           LaTouche                      Unconfirmed     Parent            9/10/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                     01616-JR; P4679

                                                                                                                                                                                                                                     DKT 313; 1:02-cv-
175 Karl                                     LaTouche                                                      Grenada    Jeffrey                           LaTouche                      Unconfirmed       Child           9/10/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                     01616-JR; P4677

                                                                                                                                                                                                                                     DKT 313; 1:02-cv-
176 Jefferson                                Patterson                                                     Grenada    Jeffrey                           LaTouche                      Unconfirmed       Child           9/10/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                     01616-JR; P4678

                                                                                                                                                                                                                                     DKT 313; 1:02-cv-
177 Michael                                  Samuel                                                       Unconfirmed Jeffrey                           LaTouche                      Unconfirmed     Sibling           9/10/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                     01616-JR; P4680

                                                                                                                                                                                        United                                       DKT 305; 1:02-cv-
178 Victoria                Louise           Lawn                                                         Unconfirmed Steven                            Lawn                                         Spouse              9/5/2003                           n/a         n/a                   n/a      $   12,500,000.00
                                                                                                                                                                                       Kingdom                                       01616-JR; P4379

                                                                                                                                                                                                                                     DKT 305; 1:02-cv-
179 C.L.                                                                                                  Unconfirmed Dong                  Chul        Lee                             Korea           Child            9/5/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                     01616-JR; P4383




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                                                                                       Case 1:03-cv-09849-GBD-SN Document 1045-7 Filed 10/04/22 Page 12 of 24

EXHIBIT C-3                                                                                                                                                              Burnett, et al. v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                   Wrongful-Death Solatium Claims Under Common Law for Foreign or Unconfirmed Nationals




                                                                                                                                                                                                                                                                       ECF Number of Prior
                                                                                                                                                                                                      Decedent/ Injured
                                                                                                                                                                                                       Relationship of




                                                                                                                                                                                                                                                                         MDL Judgment
                                                                    Plaintiff Suffix




                                                                                                                                                                                                         Plaintiff to
                                                                                                                                                9/11                                                                                    Docket Entry          Case                                           Prior MDL
                                 Plaintiff                                                                                                                                                9/11                               Date                                                             Date of




                                                                                                                                                                               Suffix
                                                                                        Estate Personal     Plaintiff  9/11 Decedent First    Decedent    9/11 Decedent Last                                                             When First        Number of                                         Judgment
#    Plaintiff First Name         Middle     Plaintiff Last Name                                                                                                                         Client's                          Plaintiff                                                         Prior MDL
                                                                                       Representative(s)   Nationality       Name              Middle           Name                                                                     Added to          Prior MDL                                      Value/Solatium
                                  Name                                                                                                                                                  Nationality                         Added                                                            Judgment
                                                                                                                                               Name                                                                                      Complaint         Judgment                                      Judgment Amount



                                                                                                                                                                                                                                       DKT 305; 1:02-cv-
180 D.L.                                                                                                   Unconfirmed Dong                  Chul         Lee                             Korea           Child            9/5/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                       01616-JR; P4383

                                                                                                                                                                                                                                       DKT 305; 1:02-cv-
181 M.L.                                                                                                   Unconfirmed Dong                  Chul         Lee                             Korea           Child            9/5/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                       01616-JR; P4383
                                                                                                                                                                                                                                       DKT 432; 1:03-
182 S.L.                                                                                                   Unconfirmed Myoung                Woo          Lee                           Unconfirmed       Child           9/10/2004    md-01570-GBD-          n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                       SN; P5392
                                                                                                                                                                                                                                       DKT 432; 1:03-
183 Mi                      Yong             Lee                                                           Unconfirmed Myoung                Woo          Lee                           Unconfirmed    Spouse             9/10/2004    md-01570-GBD-          n/a         n/a                   n/a      $   12,500,000.00
                                                                                                                                                                                                                                       SN; P5392
                                                                                                                                                                                                                                       DKT 232; 1:02-cv-
184 S.N.L.                                                                                                 Unconfirmed Shai                               Levinhar                      Unconfirmed       Child            8/1/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                       01616-JR; P3778

                                                                                                                                                                                                                                       DKT 232; 1:02-cv-
185 Iris                                     Kramer                                                        Unconfirmed Shai                               Levinhar                      Unconfirmed     Sibling            8/1/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                       01616-JR; P3776

                                                                                                                                                                                                                                       DKT 232; 1:02-cv-
186 Judy                                     Levinhar                                                      Unconfirmed Shai                               Levinhar                      Unconfirmed     Parent             8/1/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                       01616-JR; P3777

                                                                                                                                                                                                                                       DKT 232; 1:02-cv-
187 Liat                                     Levinhar                                                      Unconfirmed Shai                               Levinhar                      Unconfirmed    Spouse              8/1/2003                           n/a         n/a                   n/a      $   12,500,000.00
                                                                                                                                                                                                                                       01616-JR; P3778

                                                                                                                                                                                                                                       DKT 232; 1:02-cv-
188 Raz                                      Levinhar                                                      Unconfirmed Shai                               Levinhar                      Unconfirmed     Sibling            8/1/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                       01616-JR; P3780

                                                                                                                                                                                                                                       DKT 232; 1:02-cv-
189 Zvi                                      Levinhar                                                      Unconfirmed Shai                               Levinhar                      Unconfirmed     Parent             8/1/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                       01616-JR; P3781

                                                                                                                                                                                                                                       DKT 232; 1:02-cv-
190 Mor                                      Levinhar-Tzang                                                Unconfirmed Shai                               Levinhar                      Unconfirmed     Sibling            8/1/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                       01616-JR; P3779

                                                                                                                                                                                                                                       DKT 232; 1:02-cv-
191 Hong                                     Lin                                                           Unconfirmed Wei Rong                           Lin                              China        Sibling            8/1/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                       01616-JR; P3787

                                                                                                                                                                                                                                       DKT 232; 1:02-cv-
192 Rong                    Di               You                                                              China    Wei Rong                           Lin                              China        Parent             8/1/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                       01616-JR; P3789
                                                                                                                                                                                                                                     DKT 26, 29; 1:02-
193 Dening                                   Lohez                                                         Unconfirmed Jerome                             Lohez                           France       Spouse             11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $   12,500,000.00
                                                                                                                                                                                                                                     3647
                                                                                                                                                                                                                                     DKT 3; 1:02-cv-
194 Rosemary                                 Lozowsky                                                      Unconfirmed John                  Peter        Lozowsky                      Unconfirmed     Parent             9/4/2002                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                     01616-JR; 1373
                                                                                                                                                                                                                                     DKT 3; 1:02-cv-
195 John                    Peter            Lozowsky              Sr.                                     Unconfirmed John                  Peter        Lozowsky                      Unconfirmed     Parent             9/4/2002                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                     01616-JR; 1372
                                                                                                                                                                                                                                     DKT 3; 1:02-cv-
196 Debra                   A.               Rhody                                                         Unconfirmed John                  Peter        Lozowsky                      Unconfirmed     Sibling            9/4/2002                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                     01616-JR; 1374




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EXHIBIT C-3                                                                                                                                                                    Burnett, et al. v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                      Wrongful-Death Solatium Claims Under Common Law for Foreign or Unconfirmed Nationals




                                                                                                                                                                                                                                                                         ECF Number of Prior
                                                                                                                                                                                                         Decedent/ Injured
                                                                                                                                                                                                          Relationship of




                                                                                                                                                                                                                                                                           MDL Judgment
                                                                   Plaintiff Suffix




                                                                                                                                                                                                            Plaintiff to
                                                                                                                                               9/11                                                                                       Docket Entry          Case                                           Prior MDL
                                 Plaintiff                                                                                                                                                   9/11                              Date                                                             Date of




                                                                                                                                                                                  Suffix
                                                                                       Estate Personal     Plaintiff  9/11 Decedent First    Decedent      9/11 Decedent Last                                                              When First        Number of                                         Judgment
#    Plaintiff First Name         Middle     Plaintiff Last Name                                                                                                                            Client's                         Plaintiff                                                         Prior MDL
                                                                                      Representative(s)   Nationality       Name              Middle             Name                                                                      Added to          Prior MDL                                      Value/Solatium
                                  Name                                                                                                                                                     Nationality                        Added                                                            Judgment
                                                                                                                                              Name                                                                                         Complaint         Judgment                                      Judgment Amount



                                                                                                                                                                                                                                         DKT 232; 1:02-cv-
197 Kenneth                 J.               Mace                                                         Unconfirmed Robert                Francis        Mace                            Unconfirmed     Sibling           8/1/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                         01616-JR; P3813

                                                                                                            United                                                                           United                                      DKT 232; 1:02-cv-
198 Elizabeth                                Collis                                                                    Simon                               Maddison                                        Sibling           8/1/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                           Kingdom                                                                          Kingdom                                      01616-JR; P4068

                                                                                                                                                                                             United                                      DKT 232; 1:02-cv-
199 Penelope                Joan             Hassell                                                      Unconfirmed Simon                                Maddison                                        Sibling           8/1/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                            Kingdom                                      01616-JR; P3815

                                                                                                                                                                                             United                                      DKT 232; 1:02-cv-
200 Peter                   John             Maddison                                                     Unconfirmed Simon                                Maddison                                        Parent            8/1/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                            Kingdom                                      01616-JR; P3816

                                                                                                                                                                                             United                                      DKT 232; 1:02-cv-
201 Stephen                 Peter            Maddison                                                     Unconfirmed Simon                                Maddison                                        Sibling           8/1/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                            Kingdom                                      01616-JR; P3817

                                                                                                                                                                                                                                         DKT 305; 1:02-cv-
202 J.M.M.                                                                                                Unconfirmed John                  Daniel         Marshall                        Unconfirmed       Child           9/5/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                         01616-JR; P4404

                                                                                                                                                                                                                                         DKT 305; 1:02-cv-
203 P.M.                                                                                                  Unconfirmed John                  Daniel         Marshall                        Unconfirmed       Child           9/5/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                         01616-JR; P4404

                                                                                                                                                                                                                                         DKT 305; 1:02-cv-
204 Jeanette                A.               Marshall                                                     Unconfirmed John                  Daniel         Marshall                        Unconfirmed     Parent            9/5/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                         01616-JR; P4405

                                                                                                                                                                                                                                         DKT 305; 1:02-cv-
205 Lori                    T.               Marshall                                                     Unconfirmed John                  Daniel         Marshall                        Unconfirmed    Spouse             9/5/2003                           n/a         n/a                   n/a      $   12,500,000.00
                                                                                                                                                                                                                                         01616-JR; P4404

                                                                                                                                                                                                                                         DKT 313; 1:02-cv-
206 Doreen                  E.               Rowland                                                      Unconfirmed John                  Daniel         Marshall                        Unconfirmed     Sibling           9/10/2003                          n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                         01616-JR; P4692

                                                                                                                                                                                                                                         DKT 155; 1:02-cv-
207 Luis                                     Gaston                                                       Unconfirmed Betsy                                Martinez                        Unconfirmed     Parent            5/23/2003                          n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                         01616-JR; P3023

                                                                                                                                                                                                                                         DKT 232; 1:02-cv-
208 N.C.                                                                                                  Unconfirmed Lizie                                Martinez-Calderon               Unconfirmed       Child           8/1/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                         01616-JR; P3821

                                                                                                                                                                                                                                         DKT 232; 1:02-cv-
209 N.C.                                                                                                  Unconfirmed Lizie                                Martinez-Calderon               Unconfirmed       Child           8/1/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                         01616-JR; P3821

                                                                                                                                                                                                                                         DKT 232; 1:02-cv-
210 Marino                                   Calderon                                                     Unconfirmed Lizie                                Martinez-Calderon               Unconfirmed    Spouse             8/1/2003                           n/a         n/a                   n/a      $   12,500,000.00
                                                                                                                                                                                                                                         01616-JR; P3821

                                                                                                            United                                                                           United                                      DKT 305; 1:02-cv-
211 T.B.M.S.                                                                                                           Christine            Sheila         McNulty                                           Child           9/5/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                           Kingdom                                                                          Kingdom                                      01616-JR; P4425

                                                                                                            United                                                                           United                                      DKT 305; 1:02-cv-
212 Helen                   Norah            McNulty                                                                   Christine            Sheila         McNulty                                         Sibling           9/5/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                           Kingdom                                                                          Kingdom                                      01616-JR; P4429




                                                                                                                                                      Page 13 of 24
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EXHIBIT C-3                                                                                                                                                           Burnett, et al. v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                Wrongful-Death Solatium Claims Under Common Law for Foreign or Unconfirmed Nationals




                                                                                                                                                                                                                                                                    ECF Number of Prior
                                                                                                                                                                                                   Decedent/ Injured
                                                                                                                                                                                                    Relationship of




                                                                                                                                                                                                                                                                      MDL Judgment
                                                                Plaintiff Suffix




                                                                                                                                                                                                      Plaintiff to
                                                                                                                                            9/11                                                                                     Docket Entry          Case                                           Prior MDL
                              Plaintiff                                                                                                                                                9/11                               Date                                                             Date of




                                                                                                                                                                            Suffix
                                                                                    Estate Personal     Plaintiff  9/11 Decedent First    Decedent     9/11 Decedent Last                                                             When First        Number of                                         Judgment
#    Plaintiff First Name      Middle     Plaintiff Last Name                                                                                                                         Client's                          Plaintiff                                                         Prior MDL
                                                                                   Representative(s)   Nationality       Name              Middle            Name                                                                     Added to          Prior MDL                                      Value/Solatium
                               Name                                                                                                                                                  Nationality                         Added                                                            Judgment
                                                                                                                                           Name                                                                                       Complaint         Judgment                                      Judgment Amount



                                                                                                         United                                                                        United                                       DKT 305; 1:02-cv-
213 Catherine               Ann           McNulty                                                                   Christine            Sheila        McNulty                                       Sibling            9/5/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                        Kingdom                                                                       Kingdom                                       01616-JR; P4431

                                                                                                         United                                                                        United                                       DKT 305; 1:02-cv-
214 Michael                 Bernard       McNulty                                                                   Christine            Sheila        McNulty                                       Sibling            9/5/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                        Kingdom                                                                       Kingdom                                       01616-JR; P4426

                                                                                                         United                                                                        United                                       DKT 305; 1:02-cv-
215 Clive                   Desmond       McNulty                                                                   Christine            Sheila        McNulty                                       Sibling            9/5/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                        Kingdom                                                                       Kingdom                                       01616-JR; P4427

                                                                                                         United                                                                        United                                       DKT 305; 1:02-cv-
216 William                 Luke          McNulty                                                                   Christine            Sheila        McNulty                                       Sibling            9/5/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                        Kingdom                                                                       Kingdom                                       01616-JR; P4428

                                                                                                                                                                                       United                                       DKT 305; 1:02-cv-
217 Jennifer                Eileen        McNulty-Ahern                                                Unconfirmed Christine             Sheila        McNulty                                       Sibling            9/5/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                      Kingdom                                       01616-JR; P4430

                                                                                                                                                                                       United                                       DKT 305; 1:02-cv-
218 William                 Jorn          Skead                                                        Unconfirmed Christine             Sheila        McNulty                                      Spouse              9/5/2003                           n/a         n/a                   n/a      $   12,500,000.00
                                                                                                                                                                                      Kingdom                                       01616-JR; P4425

                                                                                                                                                                                                                                    DKT 232; 1:02-cv-
219 Barbara                               Merdinger                                                    Unconfirmed Alan                                Merdinger                     Unconfirmed    Spouse              8/1/2003                           n/a         n/a                   n/a      $   12,500,000.00
                                                                                                                                                                                                                                    01616-JR; P4075
                                                                                                                                                                                                                                  DKT 26, 29; 1:02-
220 A.C.M.                                                                                             Unconfirmed Dennis                              Mojica                        Unconfirmed       Child           11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                  3933
                                                                                                                                                                                                                                  DKT 26, 29; 1:02-
221 Valentina               Ferreira      Diaz                                                         Unconfirmed Manuel                Dejesus       Molina                        Unconfirmed    Spouse             11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $   12,500,000.00
                                                                                                                                                                                                                                  2188
                                                                                                                                                                                                                                  DKT 26, 29; 1:02-
222 Marina                                Molina                                                       Unconfirmed Manuel                Dejesus       Molina                        Unconfirmed     Parent            11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                  2186
                                                                                                                                                                                                                                  DKT 26, 29; 1:02-
223 Maria                   Carmen        Molina                                                       Unconfirmed Manuel                Dejesus       Molina                        Unconfirmed     Sibling           11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                  2193
                                                                                                                                                                                                                                  DKT 26, 29; 1:02-
224 Milede                  Atlagracia    Molina                                                       Unconfirmed Manuel                Dejesus       Molina                        Unconfirmed     Sibling           11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                  2191
                                                                                                                                                                                                                                  DKT 26, 29; 1:02-
                                                                                                        Dominican
225 Fani                    de Jesus      Molina                                                                    Manuel               Dejesus       Molina                        Unconfirmed     Sibling           11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $    4,250,000.00
                                                                                                         Republic
                                                                                                                                                                                                                                  2192
                                                                                                                                                                                                                                  DKT 26, 29; 1:02-
                                                                                                        Dominican
226 Ramon                   Dejesus       Molina                                                                    Manuel               Dejesus       Molina                        Unconfirmed     Sibling           11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $    4,250,000.00
                                                                                                         Republic
                                                                                                                                                                                                                                  2189
                                                                                                                                                                                                                                  DKT 26, 29; 1:02-
                                                                                                        Dominican
227 Juan                    Jose          Molina                                                                    Manuel               Dejesus       Molina                        Unconfirmed     Sibling           11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $    4,250,000.00
                                                                                                         Republic
                                                                                                                                                                                                                                  2190
                                                                                                                                                                                       United                                       DKT 305; 1:02-cv-
228 B.M.                                                                                               Unconfirmed John                  Christopher   Moran                                           Child            9/5/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                      Kingdom                                       01616-JR; P4442




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EXHIBIT C-3                                                                                                                                                              Burnett, et al. v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                   Wrongful-Death Solatium Claims Under Common Law for Foreign or Unconfirmed Nationals




                                                                                                                                                                                                                                                                       ECF Number of Prior
                                                                                                                                                                                                      Decedent/ Injured
                                                                                                                                                                                                       Relationship of




                                                                                                                                                                                                                                                                         MDL Judgment
                                                                   Plaintiff Suffix




                                                                                                                                                                                                         Plaintiff to
                                                                                                                                               9/11                                                                                     Docket Entry          Case                                           Prior MDL
                                 Plaintiff                                                                                                                                                9/11                               Date                                                             Date of




                                                                                                                                                                               Suffix
                                                                                       Estate Personal     Plaintiff  9/11 Decedent First    Decedent     9/11 Decedent Last                                                             When First        Number of                                         Judgment
#    Plaintiff First Name         Middle     Plaintiff Last Name                                                                                                                         Client's                          Plaintiff                                                         Prior MDL
                                                                                      Representative(s)   Nationality       Name              Middle            Name                                                                     Added to          Prior MDL                                      Value/Solatium
                                  Name                                                                                                                                                  Nationality                         Added                                                            Judgment
                                                                                                                                              Name                                                                                       Complaint         Judgment                                      Judgment Amount



                                                                                                                                                                                          United                                       DKT 305; 1:02-cv-
229 E.M.                                                                                                  Unconfirmed John                  Christopher   Moran                                           Child            9/5/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                         Kingdom                                       01616-JR; P4442

                                                                                                                                                                                          United                                       DKT 305; 1:02-cv-
230 R.M.                                                                                                  Unconfirmed John                  Christopher   Moran                                           Child            9/5/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                         Kingdom                                       01616-JR; P4442

                                                                                                            United                                                                        United                                       DKT 232; 1:02-cv-
231 Betty                   E.               Moran                                                                    John                  Christopher   Moran                                         Parent             8/1/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                           Kingdom                                                                       Kingdom                                       01616-JR; P3852

                                                                                                            United                                                                        United                                       DKT 232; 1:02-cv-
232 Kevin                   M.               Moran                                                                    John                  Christopher   Moran                                         Sibling            8/1/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                           Kingdom                                                                       Kingdom                                       01616-JR; P3853

                                                                                                            United                                                                        United                                       DKT 305; 1:02-cv-
233 Louise                  Moran            Wilson-Smith                                                             John                  Christopher   Moran                                        Spouse              9/5/2003                           n/a         n/a                   n/a      $   12,500,000.00
                                                                                                           Kingdom                                                                       Kingdom                                       01616-JR; P4442

                                                                                                                                                                                                                                       DKT HAND FILED;
234 Manuel                                   Llanos Morocho                                               Unconfirmed Blanca                              Morocho                        Ecuador        Sibling           3/10/2004    1:03-cv-9849           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                       (RCC); P5194

                                                                                                                                                                                                                                       DKT HAND FILED;
235 Maria                   Morocho          Sanchez                                                      Unconfirmed Blanca                              Morocho                        Ecuador        Parent            3/10/2004    1:03-cv-9849           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                       (RCC); P5193

                                                                                                                                                                                                                                       DKT HAND FILED;
236 Manuel                                   Llanos Morocho                                               Unconfirmed Leonel                G.            Morocho                        Ecuador        Sibling           3/10/2004    1:03-cv-9849           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                       (RCC); P5196

                                                                                                                                                                                                                                       DKT HAND FILED;
237 Maria                   Morocho          Sanchez                                                      Unconfirmed Leonel                G.            Morocho                        Ecuador        Parent            3/10/2004    1:03-cv-9849           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                       (RCC); P5195

                            Aleksandrov                                                                                                                                                                                                DKT 77; 1:02-cv-
238 Nadejda                             Grib                                                                Russia    Iouri                               Mouchinski                      Ukraine       Sibling           2/21/2003                           n/a         n/a                   n/a      $    4,250,000.00
                            na                                                                                                                                                                                                         01616-JR; P2622

                                                                                                                                                                                                                                       DKT 77; 1:02-cv-
239 Alexandra                                Mouchinskaia                                                   Russia    Iouri                               Mouchinski                      Ukraine       Parent            2/21/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                       01616-JR; P2670
                                                                                                                                                                                                                                     DKT 26, 29; 1:02-
240 Natalia                                  Mushinski                                                      Ukraine   Iouri                               Mouchinski                      Ukraine      Spouse             11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $   12,500,000.00
                                                                                                                                                                                                                                     3961
                            Aleksandrovi                                                                                                                                                                                               DKT 77; 1:02-cv-
241 Vladimir                             Mushinskiy                                                         Russia    Iouri                               Mouchinski                      Ukraine       Sibling           2/21/2003                           n/a         n/a                   n/a      $    4,250,000.00
                            ch                                                                                                                                                                                                         01616-JR; P2672
                                                                                                                                                                                                                                     DKT 26, 29; 1:02-
242 Olena                                    Pavlova                                                        Russia    Iouri                               Mouchinski                      Ukraine         Child           11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                     3962
                                                                                                                                                                                                                                     DKT 26, 29; 1:02-
243 Iryna                                    Ushakova                                                       Ukraine   Iouri                               Mouchinski                      Ukraine         Child           11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                     3963




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EXHIBIT C-3                                                                                                                                                                Burnett, et al. v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                     Wrongful-Death Solatium Claims Under Common Law for Foreign or Unconfirmed Nationals




                                                                                                                                                                                                                                                                         ECF Number of Prior
                                                                                                                                                                                                        Decedent/ Injured
                                                                                                                                                                                                         Relationship of




                                                                                                                                                                                                                                                                           MDL Judgment
                                                                    Plaintiff Suffix




                                                                                                                                                                                                           Plaintiff to
                                                                                                                                                9/11                                                                                      Docket Entry          Case                                           Prior MDL
                                 Plaintiff                                                                                                                                                  9/11                               Date                                                             Date of




                                                                                                                                                                                 Suffix
                                                                                        Estate Personal     Plaintiff  9/11 Decedent First    Decedent      9/11 Decedent Last                                                             When First        Number of                                         Judgment
#    Plaintiff First Name         Middle     Plaintiff Last Name                                                                                                                           Client's                          Plaintiff                                                         Prior MDL
                                                                                       Representative(s)   Nationality       Name              Middle             Name                                                                     Added to          Prior MDL                                      Value/Solatium
                                  Name                                                                                                                                                    Nationality                         Added                                                            Judgment
                                                                                                                                               Name                                                                                        Complaint         Judgment                                      Judgment Amount


                                                                                                                                                                                                                                         DKT 432; 1:03-
244 Helen                   Marie            Murphy                                                        Unconfirmed James                 Francis        Murphy                        Unconfirmed     Parent            9/10/2004    md-01570-GBD-          n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                         SN; P5413
                                                                                                                                                                                                                                         DKT 432; 1:03-
245 James                   F.               Murphy                III                                     Unconfirmed James                 Francis        Murphy                        Unconfirmed     Parent            9/10/2004    md-01570-GBD-          n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                         SN; P5412
                                                                                                             United                                                                         United                                       DKT 432; 1:02-cv-
246 J.N.                                                                                                               Alexander                            Napier                                          Child           12/19/2003                          n/a         n/a                   n/a      $    8,500,000.00
                                                                                                            Kingdom                                                                        Kingdom                                       01616-JR; P4901

                                                                                                             United                                                                         United                                       DKT 432; 1:02-cv-
247 M.N.                                                                                                               Alexander                            Napier                                          Child           12/19/2003                          n/a         n/a                   n/a      $    8,500,000.00
                                                                                                            Kingdom                                                                        Kingdom                                       01616-JR; P4901

                                                                                                             United                                                                         United                                       DKT 432; 1:02-cv-
248 S.N.                                                                                                               Alexander                            Napier                                          Child           12/19/2003                          n/a         n/a                   n/a      $    8,500,000.00
                                                                                                            Kingdom                                                                        Kingdom                                       01616-JR; P4901

                                                                                                             United                                                                         United                                       DKT 432; 1:02-cv-
249 Nicola                                   Napier                                                                    Alexander                            Napier                                       Spouse             12/19/2003                          n/a         n/a                   n/a      $   12,500,000.00
                                                                                                            Kingdom                                                                        Kingdom                                       01616-JR; P4901

                                                                                                                                                                                                                                         DKT HAND FILED;
                                                                                                             United                                                                         United
250 Marjorie                C.               Napier                                                                    Alexander                            Napier                                        Parent            3/10/2004    1:03-cv-9849           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                            Kingdom                                                                        Kingdom
                                                                                                                                                                                                                                         (RCC); P5207

                                                                                                                                                                                                                                         DKT HAND FILED;
                                                                                                             United                                                                         United
251 Gerald                  William          Napier                                                                    Alexander                            Napier                                        Parent            3/10/2004    1:03-cv-9849           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                            Kingdom                                                                        Kingdom
                                                                                                                                                                                                                                         (RCC); P5206

                                                                                                             United                                                                         United                                       DKT 432; 1:02-cv-
252 Mark                                     Napier                                                                    Alexander                            Napier                                        Sibling           12/19/2003                          n/a         n/a                   n/a      $    4,250,000.00
                                                                                                            Kingdom                                                                        Kingdom                                       01616-JR; P4902

                                                                                                                                                                                                                                         DKT 313; 1:02-cv-
253 M.C.N.                                                                                                 Unconfirmed Renee                 Tetreault      Newell                        Unconfirmed       Child           9/10/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                         01616-JR; P4698

                                                                                                                                                                                                                                         DKT 155; 1:02-cv-
254 Lillian                 C.               Tetreault                                                     Unconfirmed Renee                 Tetreault      Newell                        Unconfirmed     Parent            5/23/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                         01616-JR; P3050
                                                                                                                                                                                                                                       DKT 26, 29; 1:02-
255 Stephen                 V.               Ostrowski                                                     Unconfirmed James                 Robert         Ostrowski                     Unconfirmed     Parent            11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                       2243
                                                                                                                                                                                                                                       DKT 432; 1:03-
256 Ryan                                     Pacheco                                                       Unconfirmed Roland                               Pacheco                       Unconfirmed       Child            9/10/2004 md-01570-GBD-            n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                       SN; P5423
                                                                                                                                                                                                                                         DKT 232; 1:02-cv-
257 Parboti                                  Parbhu                                                          Canada    Hardai                               Parbhu                          Guyana        Sibling            8/1/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                         01616-JR; P3882

                                                                                                                                                                                                                                         DKT 232; 1:02-cv-
258 Rajaram                                  Parbhu                                                          Canada    Hardai                               Parbhu                          Guyana        Sibling            8/1/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                         01616-JR; P3883




                                                                                                                                                       Page 16 of 24
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EXHIBIT C-3                                                                                                                                                             Burnett, et al. v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                  Wrongful-Death Solatium Claims Under Common Law for Foreign or Unconfirmed Nationals




                                                                                                                                                                                                                                                                      ECF Number of Prior
                                                                                                                                                                                                     Decedent/ Injured
                                                                                                                                                                                                      Relationship of




                                                                                                                                                                                                                                                                        MDL Judgment
                                                                   Plaintiff Suffix




                                                                                                                                                                                                        Plaintiff to
                                                                                                                                               9/11                                                                                    Docket Entry          Case                                           Prior MDL
                                 Plaintiff                                                                                                                                               9/11                               Date                                                             Date of




                                                                                                                                                                              Suffix
                                                                                       Estate Personal     Plaintiff  9/11 Decedent First    Decedent    9/11 Decedent Last                                                             When First        Number of                                         Judgment
#    Plaintiff First Name         Middle     Plaintiff Last Name                                                                                                                        Client's                          Plaintiff                                                         Prior MDL
                                                                                      Representative(s)   Nationality       Name              Middle           Name                                                                     Added to          Prior MDL                                      Value/Solatium
                                  Name                                                                                                                                                 Nationality                         Added                                                            Judgment
                                                                                                                                              Name                                                                                      Complaint         Judgment                                      Judgment Amount



                                                                                                                                                                                                                                      DKT 232; 1:02-cv-
259 Lachman                                  Parbhu                                                         Guyana     Hardai                            Parbhu                          Guyana        Sibling            8/1/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                      01616-JR; P3881
                                                                                                           Republic of
                                                                                                                                                                                                                                      DKT 232; 1:02-cv-
260 Denesh                  N.               Parbhu                                                       Trinidad and Hardai                            Parbhu                          Guyana        Sibling            8/1/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                      01616-JR; P3880
                                                                                                             Tobago
                                                                                                                                                                                                                                      DKT 232; 1:02-cv-
261 Kenneth                                  Persaud                                                        Guyana     Hardai                            Parbhu                          Guyana        Sibling            8/1/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                      01616-JR; P3884

                                                                                                                                                                                                                                      DKT 232; 1:02-cv-
262 Gangadei                                 Ramrup                                                         Guyana     Hardai                            Parbhu                          Guyana        Sibling            8/1/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                      01616-JR; P3885
                                                                                                            United                                                                       United                                       DKT 3; 1:02-cv-
263 Sushilaben              R.               Patel                                                                     Avnish               Ramanbhai    Patel                                         Parent             9/4/2002                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                           Kingdom                                                                      Kingdom                                       01616-JR; 1516
                                                                                                            United                                                                       United                                       DKT 3; 1:02-cv-
264 Ramanbhas               M.               Patel                                                                     Avnish               Ramanbhai    Patel                                         Parent             9/4/2002                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                           Kingdom                                                                      Kingdom                                       01616-JR; 1515
                                                                                                                                                                                                                                      DKT 305; 1:02-cv-
265 Bobbie                  Catherine        Peak                                                         Unconfirmed Stacey                Lynn         Peak                          Unconfirmed     Parent             9/5/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                      01616-JR; P4471

                                                                                                                                                                                                                                      DKT 305; 1:02-cv-
266 Toni                                     Peak                                                         Unconfirmed Stacey                Lynn         Peak                          Unconfirmed     Sibling            9/5/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                      01616-JR; P4475

                                                                                                                                                                                                                                      DKT 305; 1:02-cv-
267 Phillip                                  Peak                                                         Unconfirmed Stacey                Lynn         Peak                          Unconfirmed     Sibling            9/5/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                      01616-JR; P4472

                                                                                                                                                                                                                                      DKT 305; 1:02-cv-
268 Michael                 R.               Peak                                                         Unconfirmed Stacey                Lynn         Peak                          Unconfirmed     Sibling            9/5/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                      01616-JR; P4473

                                                                                                                                                                                                                                      DKT 305; 1:02-cv-
269 Judy                    Peak             Rhodes                                                       Unconfirmed Stacey                Lynn         Peak                          Unconfirmed     Sibling            9/5/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                      01616-JR; P4474

                                                                                                                                                                                                                                      DKT 232; 1:02-cv-
270 G.B.                                                                                                  Unconfirmed Angela                Susan        Perez                         Unconfirmed       Child            8/1/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                      01616-JR; P3896

                                                                                                                                                                                                                                      DKT 232; 1:02-cv-
271 J.B.                                                                                                  Unconfirmed Angela                Susan        Perez                         Unconfirmed       Child            8/1/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                      01616-JR; P3896

                                                                                                                                                                                                                                      DKT 232; 1:02-cv-
272 K.B.                                                                                                  Unconfirmed Angela                Susan        Perez                         Unconfirmed       Child            8/1/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                      01616-JR; P3896

                                                                                                                                                                                                                                      DKT 432; 1:02-cv-
273 Virginia                Martha           Dominguez                                                     Australia   Alberto              Dominguez    Piriz                          Australia        Child           12/19/2003                          n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                      01616-JR; P4931

                                                                                                                                                                                                                                      DKT 432; 1:02-cv-
274 Martha                  Isabel           Dominguez                                                     Australia   Alberto              Dominguez    Piriz                          Australia     Spouse             12/19/2003                          n/a         n/a                   n/a      $   12,500,000.00
                                                                                                                                                                                                                                      01616-JR; P4927

                                                                                                                                                                                                                                      DKT 432; 1:02-cv-
275 Diego                                    Dominguez                                                     Australia   Alberto              Dominguez    Piriz                          Australia        Child           12/19/2003                          n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                      01616-JR; P4928




                                                                                                                                                    Page 17 of 24
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EXHIBIT C-3                                                                                                                                                                Burnett, et al. v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                       Wrongful-Death Solatium Claims Under Common Law for Foreign or Unconfirmed Nationals




                                                                                                                                                                                                                                                                          ECF Number of Prior
                                                                                                                                                                                                         Decedent/ Injured
                                                                                                                                                                                                          Relationship of




                                                                                                                                                                                                                                                                            MDL Judgment
                                                                    Plaintiff Suffix




                                                                                                                                                                                                            Plaintiff to
                                                                                                                                                9/11                                                                                       Docket Entry          Case                                           Prior MDL
                                 Plaintiff                                                                                                                                                   9/11                               Date                                                             Date of




                                                                                                                                                                                  Suffix
                                                                                        Estate Personal     Plaintiff  9/11 Decedent First    Decedent      9/11 Decedent Last                                                              When First        Number of                                         Judgment
#    Plaintiff First Name         Middle     Plaintiff Last Name                                                                                                                            Client's                          Plaintiff                                                         Prior MDL
                                                                                       Representative(s)   Nationality       Name              Middle             Name                                                                      Added to          Prior MDL                                      Value/Solatium
                                  Name                                                                                                                                                     Nationality                         Added                                                            Judgment
                                                                                                                                               Name                                                                                         Complaint         Judgment                                      Judgment Amount



                                                                                                                                                                                                                                          DKT 432; 1:02-cv-
276 Alvaro                                   Dominguez                                                      Australia   Alberto              Dominguez      Piriz                           Australia        Child           12/19/2003                          n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                          01616-JR; P4929

                                                                                                                                                                                                                                          DKT 432; 1:02-cv-
277 Alberto                                  Dominguez                                                      Australia   Alberto              Dominguez      Piriz                           Australia        Child           12/19/2003                          n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                          01616-JR; P4930

                                                                                                                                                                                                                                          DKT 232; 1:02-cv-
278 Carlos                  Dominguez        Perez                                                          Uruguay     Alberto              Dominguez      Piriz                           Australia      Sibling            8/1/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                          01616-JR; P3898

                            Reina                                                                                                                                                                                                         DKT 77; 1:02-cv-
279 Maria                                    Piriz                                                          Uruguay     Alberto              Dominguez      Piriz                           Australia      Sibling           2/21/2003                           n/a         n/a                   n/a      $    4,250,000.00
                            Dominguez                                                                                                                                                                                                     01616-JR; P2686

                                                                                                                                                                                                                                          DKT 232; 1:02-cv-
280 Laura                   A.               Grygotis                                                      Unconfirmed John                  M.             Pocher                         Unconfirmed    Spouse              8/1/2003                           n/a         n/a                   n/a      $   12,500,000.00
                                                                                                                                                                                                                                          01616-JR; P3899
                                                                                                                                                                                                                                        DKT 1; 1:02-cv-
281 Mary                    E.               Griffin                                                       Unconfirmed Everett               M.             Proctor              III       Unconfirmed     Sibling           8/15/2002                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                        01616-JR; 470
                                                                                                                                                                                                                                        DKT 1; 1:02-cv-
282 Catherine               B.               Proctor                                                       Unconfirmed Everett               M.             Proctor              III       Unconfirmed     Parent             8/15/2002                          n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                        01616-JR; 471
                                                                                                                                                                                                                                        DKT 1; 1:02-cv-
283 Everett                                  Proctor               Jr.                                     Unconfirmed Everett               M.             Proctor              III       Unconfirmed     Parent             8/15/2002                          n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                        01616-JR; 469
                                                                                                                                                                                                                                        DKT 26, 29; 1:02-
284 C.C.P.                                                                                                 Unconfirmed David                 L.             Pruim                          Unconfirmed       Child           11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                        4185
                                                                                                                                                                                                                                        DKT 26, 29; 1:02-
285 Kathryn                 S.               Pruim                                                         Unconfirmed David                 L.             Pruim                          Unconfirmed    Spouse             11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $   12,500,000.00
                                                                                                                                                                                                                                        4185
                                                                                                                                                                                                                                        DKT 602; 1:03-
286 Dominic                 J.               Puopolo               Jr.                                     Unconfirmed Sonia                 Morales        Puopolo                        Unconfirmed       Child            1/3/2005 md-01570-GBD-             n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                        SN; P5500
                                                                                                                                                                                                                                          DKT 313; 1:02-cv-
287 A.G.R.                                                                                                 Unconfirmed Harry                                Ramos                          Unconfirmed       Child           9/10/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                          01616-JR; P4715

                                                                                                                                                                                                                                          DKT 313; 1:02-cv-
288 E.H.R.                                                                                                 Unconfirmed Harry                                Ramos                          Unconfirmed       Child           9/10/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                          01616-JR; P4715

                                                                                                                                                                                                                                          DKT 313; 1:02-cv-
289 Migdalia                                 Ramos                                                         Unconfirmed Harry                                Ramos                          Unconfirmed    Spouse             9/10/2003                           n/a         n/a                   n/a      $   12,500,000.00
                                                                                                                                                                                                                                          01616-JR; P4715

                                                                                                                                                                                                                                          DKT 232; 1:02-cv-
290 K.B.R.                                                                                                 Unconfirmed Jonathan                             Randall                        Unconfirmed       Child            8/1/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                          01616-JR; P3921

                                                                                                             United                                                                          United                                       DKT 313; 1:02-cv-
291 Susan                   Elizabeth        Prothero                                                                   Sarah                Anne           Redheffer                                      Parent            9/10/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                            Kingdom                                                                         Kingdom                                       01616-JR; AP270

                                                                                                             United                                                                          United                                       DKT 313; 1:02-cv-
292 David                   John             Prothero                                                                   Sarah                Anne           Redheffer                                      Parent            9/10/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                            Kingdom                                                                         Kingdom                                       01616-JR; AP271




                                                                                                                                                       Page 18 of 24
                                                                                      Case 1:03-cv-09849-GBD-SN Document 1045-7 Filed 10/04/22 Page 19 of 24

EXHIBIT C-3                                                                                                                                                               Burnett, et al. v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                    Wrongful-Death Solatium Claims Under Common Law for Foreign or Unconfirmed Nationals




                                                                                                                                                                                                                                                                        ECF Number of Prior
                                                                                                                                                                                                       Decedent/ Injured
                                                                                                                                                                                                        Relationship of




                                                                                                                                                                                                                                                                          MDL Judgment
                                                                   Plaintiff Suffix




                                                                                                                                                                                                          Plaintiff to
                                                                                                                                               9/11                                                                                      Docket Entry          Case                                           Prior MDL
                                 Plaintiff                                                                                                                                                 9/11                               Date                                                             Date of




                                                                                                                                                                                Suffix
                                                                                       Estate Personal     Plaintiff  9/11 Decedent First    Decedent      9/11 Decedent Last                                                             When First        Number of                                         Judgment
#    Plaintiff First Name         Middle     Plaintiff Last Name                                                                                                                          Client's                          Plaintiff                                                         Prior MDL
                                                                                      Representative(s)   Nationality       Name              Middle             Name                                                                     Added to          Prior MDL                                      Value/Solatium
                                  Name                                                                                                                                                   Nationality                         Added                                                            Judgment
                                                                                                                                              Name                                                                                        Complaint         Judgment                                      Judgment Amount



                                                                                                                                                                                           United                                       DKT 313; 1:02-cv-
293 Jane                    Marie            Thompson                                                     Unconfirmed Sarah                 Anne           Redheffer                                     Sibling           9/10/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                          Kingdom                                       01616-JR; P4717

                                                                                                                                                                                                                                        DKT 232; 1:02-cv-
294 Jo Ann                  R.               Riccio                                                       Unconfirmed Rudolph               N.             Riccio                        Unconfirmed    Spouse              8/1/2003                           n/a         n/a                   n/a      $   12,500,000.00
                                                                                                                                                                                                                                        01616-JR; P3928

                                                                                                                                                                                                                                        DKT 305; 1:02-cv-
295 Julia                                    Rivas                                                        Unconfirmed Moises                               Rivas                         Unconfirmed     Parent             9/5/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                        01616-JR; P4497

                                                                                                                                                                                                                                        DKT HAND FILED;
296 Nancy                   Elizabeth        Rivas Molina                                                 Unconfirmed Moises                               Rivas                         Unconfirmed     Sibling           3/10/2004    1:03-cv-9849           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                        (RCC); P5244

                                                                                                           Dominican                                                                                                                    DKT 77; 1:02-cv-
297 Lenny                                    Rodriguez                                                                 David                Bartolo        Rodriguez                     Unconfirmed       Child           2/21/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                            Republic                                                                                                                    01616-JR; P2697

                                                                                                           Dominican                                                                                                                    DKT 77; 1:02-cv-
298 Deivi                                    Rodriguez                                                                 David                Bartolo        Rodriguez                     Unconfirmed       Child           2/21/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                            Republic                                                                                                                    01616-JR; P2696
                                                                                                                                                                                                                                      DKT 26, 29; 1:02-
299 Marian                                   Rogan                                                        Unconfirmed Matthew               Sean           Rogan                         Unconfirmed     Parent            11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                      4296
                                                                                                                                                                                                                                      DKT 26, 29; 1:02-
300 John                                     Rogan                                                        Unconfirmed Matthew               Sean           Rogan                         Unconfirmed     Parent            11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                      4295
                                                                                                                                                                                           United                                       DKT 432; 1:02-cv-
301 Angela                  Elizabeth        Rogers                                                       Unconfirmed Karlie                Barbara        Rogers                                        Parent            12/19/2003                          n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                          Kingdom                                       01616-JR; AP291

                                                                                                                                                                                           United                                       DKT 432; 1:02-cv-
302 Kristie                                  Rogers                                                       Unconfirmed Karlie                Barbara        Rogers                                        Sibling           12/19/2003                          n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                          Kingdom                                       01616-JR; AP292

                                                                                                                                                                                           United                                       DKT 313; 1:02-cv-
303 Keith                                    Rogers                                                       Unconfirmed Karlie                Barbara        Rogers                                        Parent            9/10/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                          Kingdom                                       01616-JR; AP288

                                                                                                                                                                                                                                        DKT 313; 1:02-cv-
304 J.R.                                                                                                  Unconfirmed James                 M.             Roux                          Unconfirmed       Child           9/10/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                        01616-JR; P4721

                                                                                                                                                                                                                                        DKT 313; 1:02-cv-
305 P.R.                                                                                                  Unconfirmed James                 M.             Roux                          Unconfirmed       Child           9/10/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                        01616-JR; P4721
                                                                                                                                                                                                                                        DKT 1; 1:02-cv-
306 Alexander               William          Rowe                                                         Unconfirmed Nicholas              Charles Alexander
                                                                                                                                                          Rowe                           Unconfirmed     Parent            8/15/2002                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                        01616-JR; 537
                                                                                                                                                                                                                                        DKT 1; 1:02-cv-
307 Martine                                  Saada                                                        Unconfirmed Thierry                              Saada                           France        Parent            8/15/2002                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                        01616-JR; 544
                                                                                                                                                                                                                                        DKT 1; 1:02-cv-
308 Jean Marc                                Saada                                                        Unconfirmed Thierry                              Saada                           France        Parent            8/15/2002                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                        01616-JR; 543
                                                                                                                                                                                                                                        DKT 1; 1:02-cv-
309 Rudy                    Hai Victor       Saada                                                        Unconfirmed Thierry                              Saada                           France        Sibling           8/15/2002                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                        01616-JR; 545




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EXHIBIT C-3                                                                                                                                                                  Burnett, et al. v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                     Wrongful-Death Solatium Claims Under Common Law for Foreign or Unconfirmed Nationals




                                                                                                                                                                                                                                                                         ECF Number of Prior
                                                                                                                                                                                                        Decedent/ Injured
                                                                                                                                                                                                         Relationship of




                                                                                                                                                                                                                                                                           MDL Judgment
                                                                   Plaintiff Suffix




                                                                                                                                                                                                           Plaintiff to
                                                                                                                                                 9/11                                                                                     Docket Entry          Case                                           Prior MDL
                                 Plaintiff                                                                                                                                                  9/11                               Date                                                             Date of




                                                                                                                                                                                 Suffix
                                                                                       Estate Personal       Plaintiff  9/11 Decedent First    Decedent     9/11 Decedent Last                                                             When First        Number of                                         Judgment
#    Plaintiff First Name         Middle     Plaintiff Last Name                                                                                                                           Client's                          Plaintiff                                                         Prior MDL
                                                                                      Representative(s)     Nationality       Name              Middle            Name                                                                     Added to          Prior MDL                                      Value/Solatium
                                  Name                                                                                                                                                    Nationality                         Added                                                            Judgment
                                                                                                                                                Name                                                                                       Complaint         Judgment                                      Judgment Amount


                                                                                                                                                                                                                                         DKT 1; 1:02-cv-
310 Anthony                                  Saada                                                          Unconfirmed Thierry                             Saada                           France        Sibling           8/15/2002                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                         01616-JR; 546
                                                                                                                                                                                                                                         DKT 1; 1:02-cv-
311 Rohy                                     Saada                                                          Unconfirmed Thierry                             Saada                           France        Sibling           8/15/2002                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                         01616-JR; 548
                                                                                                                                                                                                                                         DKT 1; 1:02-cv-
312 Gary                    Moshe            Saada                                                          Unconfirmed Thierry                             Saada                           France        Sibling           8/15/2002                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                         01616-JR; 549
                                                                                                                                                                                                                                         DKT 1; 1:02-cv-
313 Cindy                                    Saada-Haddad                                                   Unconfirmed Thierry                             Saada                           France        Sibling           8/15/2002                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                         01616-JR; 547
                                                                                                                                                                                                                                         DKT 432; 1:02-cv-
314 Paul                                     Sabin                                                          Unconfirmed Charles               E.            Sabin                         Unconfirmed       Child           12/19/2003                          n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                         01616-JR; P4946
                                                                                                                                                                                                                                         DKT 1; 1:02-cv-
315 Eugenia                                  Bogado                                                          Paraguay   Carlos                A.            Samaniego                      Paraguay       Parent            8/15/2002                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                         01616-JR; 552
                                                                                                                                                                                                                                         DKT 3; 1:02-cv-
316 Luis                    S.               Samaniego                                                      Unconfirmed Carlos                A.            Samaniego                      Paraguay       Sibling            9/4/2002                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                         01616-JR; 1608
                                                                                                                                                                                                                                         DKT HAND FILED;
317 Maria                   Carmen           Penafiel                                                         Ecuador   Hugo                  Manuel        Sanay-Perefiel                Unconfirmed     Parent            3/10/2004    1:03-cv-9849           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                         (RCC); P5251
                                                                                                                                                                                                                                       DKT 432; 1:03-
318 Manish                                   Rai                                                            Unconfirmed Deepika                             Sattaluri                        India        Sibling           9/10/2004  md-01570-GBD-            n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                       SN; P5441
                                                                                                                                                                                                                                       DKT 3; 1:02-cv-
319 Valeriy                                  Savinkin                                                       Unconfirmed Vladimir                            Savinkin                        Ukraine       Parent             9/4/2002                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                       01616-JR; 1626
                                                                                                                                                                                                                                       DKT 3; 1:02-cv-
320 Valentina                                Savinkina                                                        Ukraine   Vladimir                            Savinkin                        Ukraine       Parent             9/4/2002                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                       01616-JR; 1627
                                                                                                                                                                                                                                       DKT 3; 1:02-cv-
321 Galina                                   Savinkina                                                        Ukraine   Vladimir                            Savinkin                        Ukraine       Sibling            9/4/2002                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                       01616-JR; 1628
                                                                                                                                                                                                                                       DKT 26, 29; 1:02-
322 Lauren                  J.               Osnato                                                         Unconfirmed Karen                 Helene        Schmidt                       Unconfirmed     Sibling           11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                       2342
                                                                                                                                                                                                                                       DKT 26, 29; 1:02-
323 Karl                    H.               Schmidt                                                        Unconfirmed Karen                 Helene        Schmidt                       Unconfirmed     Sibling           11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                       2341
                                                                                      Barry Winter; James     United                                                                        United                                       DKT 1; 1:02-cv-
324 Frances                 Ruth             Selwyn (Estate of)                                                         Howard                              Selwyn                                       Spouse             8/15/2002                           n/a         n/a                   n/a      $   12,500,000.00
                                                                                      Matthew Selwyn         Kingdom                                                                       Kingdom                                       01616-JR; 563

                                                                                                                                                                                                                                         DKT 313; 1:02-cv-
325 Lilmatie                                 Didora                                                           Canada    Sita                  N.            Sewnarine                     Unconfirmed     Sibling           9/10/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                         01616-JR; P4732
                                                                                                                                                                                                                                       DKT 26, 29; 1:02-
326 Jenny                                    Rahaman                                                        Unconfirmed Sita                  N.            Sewnarine                     Unconfirmed     Sibling           11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                       4401
                                                                                                                                                                                                                                         DKT 77; 1:02-cv-
327 Bhoopaul                                 Sewnarine                                                      Unconfirmed Sita                  N.            Sewnarine                     Unconfirmed     Sibling           2/21/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                         01616-JR; P2701
                                                                                                                                                                                                                                       DKT 26, 29; 1:02-
328 N.R.S.                                                                                                  Unconfirmed Hagay                               Shefi                            Israel         Child           11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                       4408




                                                                                                                                                       Page 20 of 24
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EXHIBIT C-3                                                                                                                                                                Burnett, et al. v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                     Wrongful-Death Solatium Claims Under Common Law for Foreign or Unconfirmed Nationals




                                                                                                                                                                                                                                                                         ECF Number of Prior
                                                                                                                                                                                                        Decedent/ Injured
                                                                                                                                                                                                         Relationship of




                                                                                                                                                                                                                                                                           MDL Judgment
                                                                   Plaintiff Suffix




                                                                                                                                                                                                           Plaintiff to
                                                                                                                                               9/11                                                                                       Docket Entry          Case                                           Prior MDL
                                 Plaintiff                                                                                                                                                  9/11                               Date                                                             Date of




                                                                                                                                                                                 Suffix
                                                                                       Estate Personal     Plaintiff  9/11 Decedent First    Decedent       9/11 Decedent Last                                                             When First        Number of                                         Judgment
#    Plaintiff First Name         Middle     Plaintiff Last Name                                                                                                                           Client's                          Plaintiff                                                         Prior MDL
                                                                                      Representative(s)   Nationality       Name              Middle              Name                                                                     Added to          Prior MDL                                      Value/Solatium
                                  Name                                                                                                                                                    Nationality                         Added                                                            Judgment
                                                                                                                                              Name                                                                                         Complaint         Judgment                                      Judgment Amount


                                                                                                                                                                                                                                       DKT 26, 29; 1:02-
329 R.S.                                                                                                  Unconfirmed Hagay                                 Shefi                            Israel         Child           11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                       4408
                                                                                                                                                                                                                                       DKT 26, 29; 1:02-
330 Sigal                   Shefi            Asher                                                           Israel   Hagay                                 Shefi                            Israel      Spouse             11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $   12,500,000.00
                                                                                                                                                                                                                                       4408
                                                                                                                                                                                                                                       DKT 26, 29; 1:02-
331 Pazit                   Shefi            Baum                                                            Israel   Hagay                                 Shefi                            Israel       Sibling           11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                       2360
                                                                                                                                                                                                                                       DKT 26, 29; 1:02-
332 Esther                  Rivka            Shefi                                                        Unconfirmed Hagay                                 Shefi                            Israel       Parent            11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                       2358
                                                                                                                                                                                                                                       DKT 26, 29; 1:02-
333 Dov                                      Shefi                                                        Unconfirmed Hagay                                 Shefi                            Israel       Parent            11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                       2357
                                                                                                                                                                                                                                       DKT 26, 29; 1:02-
334 Yishai                                   Shefi                                                        Unconfirmed Hagay                                 Shefi                            Israel       Sibling           11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                       2359
                                                                                                                                                                                                                                         DKT 232; 1:02-cv-
335 Sachiko                                  Shiratori                                                    Unconfirmed Atsushi                               Shiratori                       Japan         Parent             8/1/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                         01616-JR; P4085

                                                                                                                                                                                                                                         DKT 232; 1:02-cv-
336 Haruhiro                                 Shiratori                                                    Unconfirmed Atsushi                               Shiratori                       Japan         Parent             8/1/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                         01616-JR; P4084

                                                                                                                                                                                            United                                       DKT 155; 1:02-cv-
337 Ann                                      Simpkin                                                      Unconfirmed Jane                  Louise          Simpkin                                       Parent            5/23/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                           Kingdom                                       01616-JR; P3088

                                                                                                                                                                                            United                                       DKT 155; 1:02-cv-
338 Helen                   C.               Simpkin-Whalen                                               Unconfirmed Jane                  Louise          Simpkin                                       Sibling           5/23/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                           Kingdom                                       01616-JR; P3089

                                                                                                                                                                                                                                         DKT 313; 1:02-cv-
339 Roy                                      Hudson                                                       Unconfirmed Joyce                 Patricia        Smith                         Unconfirmed     Sibling           9/10/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                         01616-JR; AP284

                                                                                                                                                                                                                                         DKT 155; 1:02-cv-
340 Millicent                                Miller                                                       Unconfirmed Joyce                 Patricia        Smith                         Unconfirmed     Sibling           5/23/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                         01616-JR; P3092

                                                                                                                                                                                                                                         DKT 77; 1:02-cv-
341 Elda                                     Giron                                                        Unconfirmed Fabian                                Soto                          Unconfirmed    Spouse             2/21/2003                           n/a         n/a                   n/a      $   12,500,000.00
                                                                                                                                                                                                                                         01616-JR; P2612

                                                                                                                                                                                                                                         DKT 77; 1:02-cv-
342 Jose                    Fabian           Soto                                                         Unconfirmed Fabian                                Soto                          Unconfirmed       Child           2/21/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                         01616-JR; P2704

                                                                                                                                                                                                                                         DKT 305; 1:02-cv-
343 Paul                    J.               Stanley                                                      Unconfirmed Mary                  Domenica        Stanley                       Yugoslavia     Spouse              9/5/2003                           n/a         n/a                   n/a      $   12,500,000.00
                                                                                                                                                                                                                                         01616-JR; P4539
                                                                                                                                                                                                                                       DKT 26, 29; 1:02-
344 Evelyn                                   Stone                                                        Unconfirmed Lonny                 Jay             Stone                         Unconfirmed     Parent            11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                       4466




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EXHIBIT C-3                                                                                                                                                             Burnett, et al. v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                    Wrongful-Death Solatium Claims Under Common Law for Foreign or Unconfirmed Nationals




                                                                                                                                                                                                                                                                       ECF Number of Prior
                                                                                                                                                                                                      Decedent/ Injured
                                                                                                                                                                                                       Relationship of




                                                                                                                                                                                                                                                                         MDL Judgment
                                                                   Plaintiff Suffix




                                                                                                                                                                                                         Plaintiff to
                                                                                                                                               9/11                                                                                     Docket Entry          Case                                           Prior MDL
                                 Plaintiff                                                                                                                                                9/11                               Date                                                             Date of




                                                                                                                                                                               Suffix
                                                                                       Estate Personal     Plaintiff  9/11 Decedent First    Decedent    9/11 Decedent Last                                                              When First        Number of                                         Judgment
#    Plaintiff First Name         Middle     Plaintiff Last Name                                                                                                                         Client's                          Plaintiff                                                         Prior MDL
                                                                                      Representative(s)   Nationality       Name              Middle           Name                                                                      Added to          Prior MDL                                      Value/Solatium
                                  Name                                                                                                                                                  Nationality                         Added                                                            Judgment
                                                                                                                                              Name                                                                                       Complaint         Judgment                                      Judgment Amount


                                                                                                                                                                                                                                     DKT 26, 29; 1:02-
345 Gayle                                    Stone                                                        Unconfirmed Lonny                 Jay          Stone                          Unconfirmed     Sibling           11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                     4467
                                                                                                                                                                                                                                     DKT 26, 29; 1:02-
346 Benson                                   Stone                                                        Unconfirmed Lonny                 Jay          Stone                          Unconfirmed     Parent            11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                     4465
                                                                                                                                                                                                                                       DKT 232; 1:02-cv-
347 S.L.T.                                                                                                Unconfirmed Donnie                B.           Taylor               Sr.       Unconfirmed       Child            8/1/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                       01616-JR; P3980

                                                                                                                                                                                                                                       DKT 232; 1:02-cv-
348 Sarah                                    Taylor                                                       Unconfirmed Donnie                B.           Taylor               Sr.       Unconfirmed    Spouse              8/1/2003                           n/a         n/a                   n/a      $   12,500,000.00
                                                                                                                                                                                                                                       01616-JR; P3980

                                                                                                                                                                                                                                       DKT 232; 1:02-cv-
349 Donnie                  Brooks           Taylor (Estate of)                                           Unconfirmed Donnie                B.           Taylor               Sr.       Unconfirmed       Child            8/1/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                       01616-JR; P3979
                                                                                                                                                                                                                                     DKT 26, 29; 1:02-
350 Louis                                    Temple                                                       Unconfirmed Dorothy               Pearl        Temple                         Unconfirmed     Sibling           11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                     2395
                                                                                                                                                                                                                                       DKT 232; 1:02-cv-
351 Britt                                    Ehnar                                                        Unconfirmed David                              Tengelin                         Sweden        Parent             8/1/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                       01616-JR; P3982

                                                                                                                                                                                                                                       DKT 232; 1:02-cv-
352 Petra                                    Ehnar                                                        Unconfirmed David                              Tengelin                         Sweden        Sibling            8/1/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                       01616-JR; P3983

                                                                                                                                                                                                                                       DKT 232; 1:02-cv-
353 Patric                                   Tengelin                                                     Unconfirmed David                              Tengelin                         Sweden        Sibling            8/1/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                       01616-JR; P3984
                                                                                                                                                                                                                                     DKT 26, 29; 1:02-
                                                                                                                                                                                          United
354 E.C.T.                                                                                                Unconfirmed Clive                              Thompson                                         Child           11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                         Kingdom
                                                                                                                                                                                                                                     4542
                                                                                                                                                                                                                                     DKT 26, 29; 1:02-
                                                                                                                                                                                          United
355 R.T.                                                                                                  Unconfirmed Clive                              Thompson                                         Child           11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                         Kingdom
                                                                                                                                                                                                                                     4542
                                                                                                                                                                                                                                     DKT 26, 29; 1:02-
                                                                                                                                                                                          United
356 Lucy                    E.               Thompson                                                     Unconfirmed Clive                              Thompson                                      Spouse             11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $   12,500,000.00
                                                                                                                                                                                         Kingdom
                                                                                                                                                                                                                                     4542
                                                                                                                                                                                                                                     DKT 26, 29; 1:02-
                                                                                                                                                                                          United
357 Keith                   Brian            Thompson                                                     Unconfirmed Clive                              Thompson                                       Sibling           11/22/2002 cv-01616-JR;             n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                         Kingdom
                                                                                                                                                                                                                                     4542
                                                                                                                                                                                                                                     DKT 3; 1:02-cv-
358 A.T.                                                                                                  Unconfirmed Salvatore                          Tieri                          Unconfirmed       Child            9/4/2002                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                     01616-JR; 1703
                                                                                                                                                                                                                                     DKT 3; 1:02-cv-
359 J.T.                                                                                                  Unconfirmed Salvatore                          Tieri                          Unconfirmed       Child            9/4/2002                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                     01616-JR; 1703
                                                                                                                                                                                                                                     DKT 3; 1:02-cv-
360 Maureen                                  Tieri                                                        Unconfirmed Salvatore                          Tieri                          Unconfirmed    Spouse              9/4/2002                           n/a         n/a                   n/a      $   12,500,000.00
                                                                                                                                                                                                                                     01616-JR; 1703
                                                                                                                                                                                                                                       DKT HAND FILED;
361 Maria                   Teresa           Rueda De Torres                                              Unconfirmed Luis                  Eduardo      Torres                          Colombia       Parent            3/10/2004    1:03-cv-9849           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                       (RCC); P5287




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EXHIBIT C-3                                                                                                                                                            Burnett, et al. v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                 Wrongful-Death Solatium Claims Under Common Law for Foreign or Unconfirmed Nationals




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                                                                                                                                                                                                    Decedent/ Injured
                                                                                                                                                                                                     Relationship of




                                                                                                                                                                                                                                                                        MDL Judgment
                                                                Plaintiff Suffix




                                                                                                                                                                                                       Plaintiff to
                                                                                                                                            9/11                                                                                      Docket Entry          Case                                             Prior MDL
                              Plaintiff                                                                                                                                                 9/11                               Date                                                               Date of




                                                                                                                                                                             Suffix
                                                                                    Estate Personal     Plaintiff  9/11 Decedent First    Decedent      9/11 Decedent Last                                                             When First        Number of                                           Judgment
#    Plaintiff First Name      Middle     Plaintiff Last Name                                                                                                                          Client's                          Plaintiff                                                           Prior MDL
                                                                                   Representative(s)   Nationality       Name              Middle             Name                                                                     Added to          Prior MDL                                        Value/Solatium
                               Name                                                                                                                                                   Nationality                         Added                                                              Judgment
                                                                                                                                           Name                                                                                        Complaint         Judgment                                        Judgment Amount



                                                                                                                                                                                                                                     DKT HAND FILED;
362 Monica                                Torres                                                       Unconfirmed Luis                  Eduardo        Torres                         Colombia       Sibling           3/10/2004    1:03-cv-9849           n/a          n/a                    n/a      $    4,250,000.00
                                                                                                                                                                                                                                     (RCC); P5288
                                                                                                                                                                                                                                   DKT 26, 29; 1:02-
363 Hadidjatou                            Traore                                                       Unconfirmed Abdoul                Karim          Traore                        Unconfirmed    Spouse             11/22/2002 cv-01616-JR;             n/a          n/a                    n/a      $   12,500,000.00
                                                                                                                                                                                                                                   2405
                                                                                                                                                                                        United                                       DKT 432; 1:02-cv-
364 W.S.T.                                                                                             Unconfirmed Simon                 James          Turner                                          Child           12/19/2003                          n/a          n/a                    n/a      $    8,500,000.00
                                                                                                                                                                                       Kingdom                                       01616-JR; P4959

                                                                                                                                                                                        United                                       DKT 432; 1:02-cv-
365 Elizabeth               Rachel        Turner                                                       Unconfirmed Simon                 James          Turner                                       Spouse             12/19/2003                          n/a          n/a                    n/a      $   12,500,000.00
                                                                                                                                                                                       Kingdom                                       01616-JR; P4959

                                                                                                                                                                                        United                                       DKT 232; 1:02-cv-
366 John                    Richard       Turner                                                       Unconfirmed Simon                 James          Turner                                        Parent             8/1/2003                           n/a          n/a                    n/a      $    8,500,000.00
                                                                                                                                                                                       Kingdom                                       01616-JR; P3987

                                                                                                                                                                                                                                     DKT 232; 1:02-cv-
367 G.V.                                                                                               Unconfirmed Azael                                Vasquez                       Unconfirmed       Child            8/1/2003                           n/a          n/a                    n/a      $    8,500,000.00
                                                                                                                                                                                                                                     01616-JR; P3996
                                                                                                                                                                                                                                   DKT 26, 29; 1:02-
368 Melissa                               Vazquez                                                      Unconfirmed Arcangel                             Vazquez                       Unconfirmed       Child           11/22/2002 cv-01616-JR;             n/a          n/a                    n/a      $    8,500,000.00
                                                                                                                                                                                                                                   4622
                                                                                                                                                                                                                                     DKT 313; 1:02-cv-
369 C.S.W.                                                                                             Unconfirmed Roy                                  Wallace                          Chile          Child           9/10/2003                           n/a          n/a                    n/a      $    8,500,000.00
                                                                                                                                                                                                                                     01616-JR; P4759

                                                                                                                                                                                                                                     DKT 313; 1:02-cv-
370 M.A.W.                                                                                             Unconfirmed Roy                                  Wallace                          Chile          Child           9/10/2003                           n/a          n/a                    n/a      $    8,500,000.00
                                                                                                                                                                                                                                     01616-JR; P4759

                                                                                                                                                                                                                                     DKT 313; 1:02-cv-
371 Susan                   Ann           Wallace                                                      Unconfirmed Roy                                  Wallace                          Chile       Spouse             9/10/2003                           n/a          n/a                    n/a      $   12,500,000.00
                                                                                                                                                                                                                                     01616-JR; P4759

                                                                                                         United                                                                         United                                       DKT 313; 1:02-cv-
372 Zoe                     Louise        Ghirarduzzi                                                              Dinah                                Webster                                         Child           9/10/2003                      02-cv-7230    5058                   9/3/2019     $     8,500,000.00
                                                                                                        Kingdom                                                                        Kingdom                                       01616-JR; P4760

                                                                                                         United                                                                         United                                       DKT 313; 1:02-cv-
373 Sonia                                 Hopwood                                                                  Dinah                                Webster                                       Parent            9/10/2003                      02-cv-7230    5058                   9/3/2019     $     8,500,000.00
                                                                                                        Kingdom                                                                        Kingdom                                       01616-JR; P4762

                                                                                                         United                                                                         United                                       DKT 313; 1:02-cv-
374 Peter                   Herbert       Hopwood                                                                  Dinah                                Webster                                       Parent            9/10/2003                      02-cv-7230    5058                   9/3/2019     $     8,500,000.00
                                                                                                        Kingdom                                                                        Kingdom                                       01616-JR; P4761

                                                                                                         United                                                                         United                                       DKT 313; 1:02-cv-
375 Clive                                 Hopwood                                                                  Dinah                                Webster                                       Sibling           9/10/2003                           n/a          n/a                    n/a      $    4,250,000.00
                                                                                                        Kingdom                                                                        Kingdom                                       01616-JR; P4763

                                                                                                         United                                                                                                                      DKT 232; 1:02-cv-
376 Julia                   Ann           Wells                                                                    Vincent               Michael        Wells                           England       Parent             8/1/2003                           n/a          n/a                    n/a      $    8,500,000.00
                                                                                                        Kingdom                                                                                                                      01616-JR; P4099

                                                                                                         United                                                                                                                      DKT 313; 1:02-cv-
377 Joanna                  Kathleen      Wells                                                                    Vincent               Michael        Wells                           England       Sibling           9/10/2003                           n/a          n/a                    n/a      $    4,250,000.00
                                                                                                        Kingdom                                                                                                                      01616-JR; AP278




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EXHIBIT C-3                                                                                                                                                            Burnett, et al. v. Al Baraka Inv. Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
                                                                                                                                                                                 Wrongful-Death Solatium Claims Under Common Law for Foreign or Unconfirmed Nationals




                                                                                                                                                                                                                                                                     ECF Number of Prior
                                                                                                                                                                                                    Decedent/ Injured
                                                                                                                                                                                                     Relationship of




                                                                                                                                                                                                                                                                       MDL Judgment
                                                                Plaintiff Suffix




                                                                                                                                                                                                       Plaintiff to
                                                                                                                                            9/11                                                                                      Docket Entry          Case                                           Prior MDL
                              Plaintiff                                                                                                                                                 9/11                               Date                                                             Date of




                                                                                                                                                                             Suffix
                                                                                    Estate Personal     Plaintiff  9/11 Decedent First    Decedent      9/11 Decedent Last                                                             When First        Number of                                         Judgment
#    Plaintiff First Name      Middle     Plaintiff Last Name                                                                                                                          Client's                          Plaintiff                                                         Prior MDL
                                                                                   Representative(s)   Nationality       Name              Middle             Name                                                                     Added to          Prior MDL                                      Value/Solatium
                               Name                                                                                                                                                   Nationality                         Added                                                            Judgment
                                                                                                                                           Name                                                                                        Complaint         Judgment                                      Judgment Amount



                                                                                                         United                                                                                                                      DKT 232; 1:02-cv-
378 Charles                 Thomas        Wells                                                                    Vincent               Michael        Wells                           England       Parent             8/1/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                        Kingdom                                                                                                                      01616-JR; P4098

                                                                                                         United                                                                                                                      DKT 313; 1:02-cv-
379 William                 Charles       Wells                                                                    Vincent               Michael        Wells                           England       Sibling           9/10/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                        Kingdom                                                                                                                      01616-JR; AP277
                                                                                                                                                                                                                                     DKT 3; 1:02-cv-
380 Shu-Nu                                Chen                                                           Taiwan    Szu-Hui                              Wen                             Taiwan        Parent             9/4/2002                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                     01616-JR; 1730
                                                                                                                                                                                                                                     DKT 3; 1:02-cv-
381 Yun-Ju                                Wen                                                            Taiwan    Szu-Hui                              Wen                             Taiwan        Sibling            9/4/2002                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                     01616-JR; 1731
                                                                                                                                                                                                                                     DKT 3; 1:02-cv-
382 Shun-Fa                               Wen                                                            Taiwan    Szu-Hui                              Wen                             Taiwan        Parent             9/4/2002                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                     01616-JR; 1729
                            Wilhelmine                                                                                                                                                                                               DKT 432; 1:02-cv-
383 Ute                                   Bongers                                                       Germany    Sigrid                Charlotte      Wiswe                          Germany        Parent            12/19/2003                          n/a         n/a                   n/a      $    8,500,000.00
                            Marie                                                                                                                                                                                                    01616-JR; P4980

                                                                                                                                                                                                                                     DKT 305; 1:02-cv-
384 Birgit                  Margarete     Wiswe                                                         Germany    Sigrid                Charlotte      Wiswe                          Germany        Sibling            9/5/2003                           n/a         n/a                   n/a      $    4,250,000.00
                                                                                                                                                                                                                                     01616-JR; P4576

                                                                                                                                                                                                                                     DKT 232; 1:02-cv-
385 Ajitha                                Vemulapalli                                                  Unconfirmed Suresh                               Yanamadala                       India       Spouse              8/1/2003                           n/a         n/a                   n/a      $   12,500,000.00
                                                                                                                                                                                                                                     01616-JR; P4037

                                                                                                                                                                                                                                     DKT 155; 1:02-cv-
386 Rui                                   Zheng                                                           China    Shuyin                               Yang                             China          Child           5/23/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                     01616-JR; P3168

                                                                                                                                                                                                                                     DKT 155; 1:02-cv-
387 Shidong                               Zheng                                                           China    Shuyin                               Yang                             China          Child           5/23/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                     01616-JR; P3169

                                                                                                                                                                                                                                     DKT 155; 1:02-cv-
388 Rui                                   Zheng                                                           China    Yuguang                              Zheng                            China          Child           5/23/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                     01616-JR; P3175

                                                                                                                                                                                                                                     DKT 155; 1:02-cv-
389 Shidong                               Zheng                                                           China    Yuguang                              Zheng                            China          Child           5/23/2003                           n/a         n/a                   n/a      $    8,500,000.00
                                                                                                                                                                                                                                     01616-JR; P3176
                                                                                                                                                                                                                                     DKT 3; 1:02-cv-
390 Alla                                  Plakht                                                       Unconfirmed Igor                                 Zukelman                        Ukraine      Spouse              9/4/2002                           n/a         n/a                   n/a      $   12,500,000.00
                                                                                                                                                                                                                                     01616-JR; 1766




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